                                Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 1 of 66
  Js 44 (Rev. 07/16)
                                                                              CIVIL COVER S HEET
  The JS 44 civil cover sheet and the inforlnation contained herein.ncither rplace nor supnllemcnt the filin and service of pleadings or other papers as re8uired by law, except as
  provided by local rules of court. This form, approved by the .ludaclal Con erence of the nlled States ln eptember 1974, ls rcqulred for the use of the Ierk of`Court for the
  purpose of mnltiating the clvll dockei sheet nw/In lm§'TRIlF'I'I{)m\' rw Anrvr pJf:fr np7/-1/8 FURM)

   I. (=0 PLAINTIFFS                                                                                              DEFENDANTS
   Julian Bradley                                                                                               Amazon.com, Inc. and
                                                                                                                EasyAcc.com, Inc.
        (b) County of Residence of Flrst Listed Plaintili'              Montgomery county                        County of Residence of First Listed Defendant
                                  (EXCEPTIN (LS I'I.AnvrlFF CASES)                                                                      (IN U.S. /v,A1nT1FF CASES ON/J')
                                                                                                                 NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

     (C) Attorneys(FirmName,Address,andTelephoneNum/rel)                                                          Attorneys (/fKnm1*n)
   Feeda R. Musitief, Esquire -- Fine and Staud, LLC                                                            Keith Heinold -- Marshall, Dennehey, Warner, Coleman & Gcggin
   1333 Race Street, Philadelphia, PA 1g107                                                                     2000 Market Street, Suite 2300, Philadelphia, PA 19103
   215-665-0100                                                 -
                                                                                                                215-575-2640 (attorney for defendant Amazon.com, Inc.)

  II. BASIS OF JURISDICTION(Place all "/\"'1.11One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace(ID"X" ill One Ravfrr P/ai»|lw
                                                                                                              (For Diversigf C¢1xe.vOnly)                                       and One Eoxfor Defendnnd
  D l      U.S. Govcmmenl               Cl 3   FederalQuesticn                                                                          I"l`F    DE F                                          PTF     DEF
              Plaintiff                          (US. Governmem Na! a Party)                            Citizen ofThis S&a&e            IZ( 1    D      l   Incorporated or Principal Piave    C1 4    o 4
                                                                                                                                                              of Business In This State

  D 2      U.S. Govemmcnl               if 4   Diversity                                                Citizen of Another Slate       Cl 2      D      2   Incorporated and Principal Place     G 5      Q85
              Dc fendant                         (lndicare Cilizenshi/> of}'n1'rie.\' in [lem 111)                                                             ofliusiness In Another Stale

                                                                                                        Citizen or Subject of a        D 3       Cl 3       F0rcignN:-nion                      D   6     D 6
                                                                                                          Foreilm Countrv
  IV. NATU RE OF SUIT(Placean'L\"'inOneRoxOnly)
              CONTRACT                                              TO R TS                                FORFEITUREIPENALTY                        B ANK RUP TCY                   OTHER STATUTES
        110 Insurance                      PERSONAL INJURY                   PERSONAL INJURY            ` 625 Dmg Related Seizure          " 422 Appeal 28 USC 158                  375 False Claims Act
        120 Marine                      _ 310 A1 ane                     8 365 Personal lnjt N .               oFPropcrty 21 USC 881       ` 423 Withdrawal                         376 Qui Tam (31 USC
        130 Miller Act                  _ 315 Airplane Product                   Product Liability      D 690 Other                               28 USC 157                            3729(a))
        M0 Negotiable Insnmmenr               Liability                  ' 367 Health Care/                                                                                     1 400 State Rcapportiomnent
        150 Recovc \ of verpaymeut      _ 320 Assault, Libel K                  Phannaceutical                                                  PROPERTY R [GHTS                    410 Antitrust
            & Enforcemem ofludgmcnl            Slander                          Personal lnjl N                                            ` 820 Copyrights                         430 Banks and Banking
        [Sl Medicare Act                _ 330 Federal Employers'                Product Liability                                          * 830 Patent                             150 Commerce
   'i   152 Recovcly of Defaulted             Ligbil w                   ' 368 Asbestos Personal                                           ' 840'l`rademark                     ' i 460 Deponaticm
            Smrlent Loans                 340 Marine                             lnjt N Produc!                                                                                     470 Racketeer Influenced and
            (Excludes Veterans)           345 Marine Product                     Liability                       L A B OR                       SOCIAL SECURITY                         Comxpt Organiwtions
  `     153 Rccove \ of`Ovc | lymcnl          Liabil rv                    PERSONALPROPER'I`\'      'w 710 Fair Labor Stando -n ;          1 861 HIA (I395ff)                       480 Consumer Credit
            ofVeteran's Bcncfils        _ 350 Motor Vehicle              'l 370 Other Fraud                 Act                            'I 862 Black Lung (923)                  490 C:1h|elSat TV
   1    160 Stockholders' Suits         _ 355 V ntor Vehicle             'l 371 Tmtlt inL¢ndiug         720 Labor/Management               'I 863 DIWC/DIWW (405(8))                850 Securirics/Commoditics/
   `    190 Other Contract                    Protfttct Liability        'l 380 Other Personal              Relations                      'I 864 SSID Title XVI                        Exchange
        195 Comracl Product Liability     360 'her Personal                     Property | mtage    _ 740 Railway Labor Act                1 865 RSI (405(g))                       890 Other Statutory Actions
  'i    196 Franchise                         htjury                     _ 385 Propedy Damage       Cl 751 F1mily and Medical                                                       891 Agriculturll Acts
                                        _ 362 Personal Injury -                 Product Liability           Leave Acl                                                           `   893 Environmenrll Matters
                                              Mctlical Malpractice                                  D 790 Other Labor Litigation                                                    895 Freedomofh\f`ox1naiion
        REALPROPERTY                        C WI L R [GHTS                PRISONER PETITIONS : ' 791 Employee Retirement                       FEDERAL TAXSUITS W                       Act
  1 210 Land Condemnation                 440 Other Civil Rights            HRbC8S Corpus:                 Income Security Act             'I 870 Taxes (U.S. Plaintiff             896 Arbitration
  _ 220 Foreclosure                     _* 441 Voting                       463 Alien Dctainee                                                    or Defendant)                     899 Administrative Procedure
    230 Rent Lease W' Ejcctment           442 Employmenl                 _ 510 Motions lo Vacale                                           '1 871 IRS Third Party                       A ~1/Review or Appeal of
    240 Torts to Land                     443 Housing/                           Sentence                                                         26 USC 7609                          Agency Decision
    245 Tort Product Liabili n                Accommodations             ' S30 izneral                                                                                          ` 950 Constitmiounlily of
    290 All Other Real Properly           445 Amer. w/Disabilities -     ' 535 Death Penalty                I:v1mIcRA'r|0n                                                             State Statutes
                                              Employment                     Hiller:                'I 462 Nnturnliznlion Applicaticm
                                          446 Amer. w/Disabilities          540 w andamus Y' I *her ' 465 r' her ImmigraHon
                                              Other                      ' 550 Civil Rights                 Actions
                                          448 Educrltion                 ' 555 PrisonCondi\ion
                                                                         Cl 560 Civil Dctaincc -
                                                                                 Conditions of'
                                                                                 Confinement
  V . O R I G I N (Place an "X" in One Bax 0II03)
  D I      Original           2 Removed from                D       3   Remanded from   D 4 Reinstated or D 5 Transtbrred from                    D 6 Mullidistrict    lj 8 Multidistrict
           Proceeding            State Court                            Appellate Court         Reopened                    Another District             Lltsgatxon           Litigation
                                                                     M9
                                                                      __                                _                  6v1*2¢                        Transfer             DirectFile
                                           Cite the U.S. Civil Statute under which you are fiiing (Do lm! citejllrixdiclio/n/I.vMlurcx rmlavx diversigy:
1332                                       28 U.S.C. §                                                  __
  VI. CAUSE OF ACTION                      Brief description of cause:
                                            Pl ai nti ff i s a c l tzzen of PA, Am azon.c om , Inc . s s a c i ti zen of W A and D E, Eas yAc c .c om , Inc . l s a c l tl zen of C hi na.
  VII. REQUESTED IN   III CHECK IF T HIS IS A CLASS                                      ACT ION           D E M AN D $                                 CHECK YES only ifdclnarided in complaint:
       COMPLAINT:           UNDER RULE 23, F.R.Cv.P,                                                                                                    JURY DEM AND:               D Yes           No
  vm. RELATED CASE(S)
                          (See ru5n.ucr.fona;)..
        IF ANY                                   JUDGE                                                                                          DOCKET NUMBER
  DATE                                                                                      OF A                Tzsconn


  FOROFFICEUSE08 ,              5 7                                 W /3.                              .    .
        RECEIPT #                 AMOUNT                                        APPLYING IFP                                  JUDGE                                MAG. JUDGE
         Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 2 of 66

                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MNAGEMENT TRACK DESIGNATION FORM

Julian Bradley                                                               CIVIL ACTION

                        v.
Am8zon.com, inc and
EasyAcc.com, Inc.                                                            NO I

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and sewe on
the plaintiff and all other parties, a Case Management Track Designation Fomi specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS-

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255.                            ( )
(b) Social Security -.- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or propelty damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred toas complex and that need special or intense management by
    the court. (See reverse side of this fonn for a detailed explanation of special
    management cases.)

(f) Standard Management -- Cases that do not fall into any one of the other tracks.


                                                             /
                  4/                                     I
                                                        4*
                                                                    AH'18ZOH.C()1'1'1, Inc.
Date                                  ttorney-at-law               ..   Attorney for
215-575-2640                    2 1 5 -5 7 5 -0 8 5 6                 kdheinold@mdwcg.com

Te le p h o n e                     FAX Number                           E-Mail Address



(Civ. 660) 10/02
         Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 3 of 66

                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM

Julian Bradley                                                               CIVIL ACTION

                         v.
Amazon.com, Inc and
EasyAcc.com_ IHC                                                             NO.

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SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS :

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(e) Special Management Cases that do not fall into tracks (a) through (d) that are
    commonly i°efer1°ed to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management       Cases that do not fall into any one of the other tracks.                J
                                                            R




                   </7                                             Ama zon.com, Inc.
Date                                Atto rney-at-law                  Attorney for
215-575-2640                    2 1 5 -5 7 5 -0 8 5 6               kdhe inold@ mdwcg.com

Telephone                           FAX Number                           E-Mail Address


(Civ. 660) 10/02
                         Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 4 of 66
                                                      UNITED S TATES DIS TRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA -- DESIGNATION FORM to be used by counsci to indicate the category of the case for the purpose of
assignment to appropriate calendar.



Address of Piaintiff       319 E. Mill Road, Hatboro, Pennsylvania 19040

Address of Defendant          4 I0 Terry Avenue North, Seattle, Washington 98109

Piacc ofAccidenl, Incident or Transaction          Date of accident was March 18, 2016. Location of accicient is unknown.
                                                                                    (UseRevelaveSidefol' /lddilioIzal Space)

Docs this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more if its stock?
 (Attach two copies of thc Disclosure Statement Form in accordance with Fed,R,Civ,P. 8.1(a))                               Yes III    No



Docs this case involve multidistrict litigation possibilities?                                                             Yes | : } N oW
RELA TED CASE, IF ANY:

Case Number:                                     J udge                                                  Date T¢m1inated

Civil cases are deemed related when yes is answered to any of the following questions:

1.       ls this case related to property included in a11 earlier numbered suit pending or within one year previously terminated action in this court?

                                                                                                                      Yes ] No 8
2.      Does this case involvc the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
         action in this coun?                                                                                              Y es D     No 8

3.       Does this case involve the validity or infringement of a patent already in suit or any earlier number case pending or within one year previously

         lcrmin8ted action in this court?                                                                                  Yes [I     No 8


CIVIL: (Place J in ONE CATEGORY ONLY)
A.    Federal Queslion Cases:                                                                       B.      Diversify Jurisdiclion Cases
l.       0     Indemnity Contract, Marine Contract, and All Other Contracts                                [Il   Insurance Contract and Other Contracts
2.       E1 FELA                                                                                    2.     [I    Airplane Personal Injury
3.       E1 Jones Act-Personal Injury                                                               3.     EI     Assault, Defamation
4.       E1 Antitrust                                                                               4.     II!   Marine Personal injury
5.       1:3 Patent                                                                                 5.     EI    Motor Vehicle Personal injury
6.       D     Labor-Management Relations                                                           6.     lj    Other Personal Injury (Please specify)
7.       D     Civil Rights                                                                         7.     8     Products Liability
8.       0     Habeas Corpus                                                                        8,     E1    Products Liability - Asbestos
9.       13    Securities Act(s) Cases                                                              9.     [I     All other Diversity Cases
10.      E1 Social Security Review Cases                                                                         (Please specify)
1 I.     U      Al! other Federal Question Cases
               (Please specify)
                                                          ARBITRATION CERTIFICATION
                                                                    (Check appropriate Calegory)
1,                                                             counsel of record do hereby certify:

       lil    Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
cxcccd lhc sum 0f$l50,000.00 exclusive ofintcresl and costs,

       I]     Reliefother than monetary damages is sought,

DATE                                                                                                                                       30244
                                                                      Attom¢y-at-Law                                                   Altomey LD. il


                      NOTE: A trial de novo will be a trial byjury only if there has been compliance with F.R.C.P. 38.

I certify that. to my lmowledge, the within case isnot related to any case now pendingor within one year previously terminated action in this court
except as noted above.

DATE              7           /7                                                                                                           30244
                                                                       Attorney-at-Law                                                 Attorney LD. #
             Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 5 of 66



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               I
                                               I

JULIAN BRADLEY                                 I
                                               I       CIVIL ACTION




                                               •
                                               v



       v.
                                               U




                                               o       NO.
                                               I
EASYACCCOM, INC.                               I
                                               I
     and                                       I

AMAZON.COM, INC.                               C




                                               •
              NOTICE oF REMOVAL 0F DEFEND1}NT, A1v1Az0n.c01v1, INC..

       Defendant, Amazomcom, Inc, (hereinafter "Amazon"), by and through its aitomeys,

Marshall, Dennehey, Warner, Coleman & Goggin, hereby respectiiJ1ly files the Notice of

R emova l of t his a c t ion, whic h is c u r r ent ly p ending in t he C ou r t of C ommon P lea s of

Philadelphia County, Pennsylvania, February Term 2017, No. 07699, pursuant to 28 U.S,C. §§

1332, 1441, and 1446, and in support thereof, avers the following.

I.      INTRODUCTION

        1.      Plaintiff, Julian Br adley (her einafter "Plaintiff"), commenced this pr oducts

liability action by tiling a Complaint on or about March l, 2017 in the Court of Common Pleas

of Philadelphia County, which asserts claims in negligence and strict liability against Amazon

and co-defendant EasyAcc.com, Inc. (hereinafter "EasyAcc") for an allegedly defective iPhone

charger that caught on fire in Plaintiffs pants pocket, allegedly causing him to sustain serious
                                                                                          ll
and permanent burn injuries. See Plaintiffs Complaint, attached hereto as Exhibit "A,

II.     THIS CASE IS REMOVABLE UNDER DIVERSITY JURISDICTION

        2.      Pursuant to 28 U.S.C. § 1441(b), a defendant may remove a case from state 00u11

to federal court based on diversity jurisdiction, and pursuant to § 1332(a)(l), a federal district




                                                   1
          Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 6 of 66



couit ma y e xe rcis e dive rs ity juris diction whe re the pa rtie s a re citize ns of diffe re nt s ta te s a nd the

a mount in controve rsy e xce e ds $75,000, e xclusive of inte re st a nd costs.

         3.        For the re a sons de ta ile d he re in, this ca se is re mova ble on the ba sis of dive rsity.

    A.       Comple te dive rs ity e xis ts

         4.        P la intiff is a n individua l with a s ta te d re s ide nce a t 319 E. Mill Roa d in Ha tboro,

P e nns ylva nia . Seq Exhibit "A" a t111. P la intiff is a citize n of P e nns ylva nia .

                   P urs ua nt to 28 U.S .C. § 1332, a corpora tion is de e me d to be a citize n of e ve ry

s ta te in which it ha s be e n incolpora te d, a nd of the s ta te whe re it ha s its principa l pla ce of

busine ss.     Ama zo n co m, In c. wa s in co rp o ra te d in th e S ta te o f De la wa re a n d ma in ta in s its

principa l pla ce of bus ine s s in the S ta te of Wa s hington, a nd the re fore , Arna zoncom, Inc. is a

citize n of De la wa re a nd Wa s hington.

         6.        The citize ns hip of a limite d lia bility compa ny is de te rmine d by the citize ns hip of

e a ch of its me mbe rs . S e e J ohns on v. S mithkline Be e cha m Corp., 742 F.3d 337, 348 (3d Cir.

2013); Za mbe lli Fire works Mfg. Co. v. Wood, 592 F.3d412, 420 (3d Cir. 2010).

         7.        Upon inve s tiga tion into c0~de fe nda nt Ea s yAco.com, Inc., couns e l for Ama zon

de te rmine d tha t Ea s yAcc is the re gis te re d na me of a product line , a nd tha t the na me wa s

re gis te re d by S e a ra y LLC. S e a ra y LLC is a De la wa re limite d lia bility compa ny tha t ha s four

me mbe rs , a ll individua ls who a re citize ns of China . See e ma il corre s ponde nce from J a s on Xie

(ja son@e a sya cce u.com), da te d Ma rch 31, 2017, a tta che d a s Exhibit "B."

         8.        The re fore , for purpos e s of dive rs ity, S e a ra y LLC, the a ppropria te e ntity in this

ma tte r, is a citize n of China a nd dive rs e from P la intiff, a citize n of P e nns ylva nia .




                                                          2
            Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 7 of 66



      B.        The amount in controversy exceeds $75,000

           9.       Furthe r, the a m ount in c ontrove rs y in this m a tte r e xc e e ds $75,000, e xc lus ive of

interest and costs.

           10.      This products lia bility ma tte r involve s a n individua l who a lle ge dly "s us ta ine d

s e rious a nd pe rma ne nt injurie s including without limita tion, injurie s to his mus cle s , thigh, le g,

ha nd, s ca rs , s ca rring wounds , s e cond de gre e de e p bum on uppe r right thigh, burns a nd s ca rs on

right thigh/le g, le ft ha nd burns , s we lling, re dne s s , blis te rs , mus cle pa in, a nd a ggra va tion of pre -

e xis tin g c o n d itio n s if a n y, o th e r ills a n d in ju rie s s o m e o r a ll o f wh ic h in ju rie s m a y b e

pe rma ne nt," a nd who is ma king a c la im for los s of e a rnings a nd/or e a rning c a pa c ity, a nd othe r

e conomic da ma ge s . See Exhibit "A," 11 29. In his Compla int, P la intiff a lle ge s da ma ge s "in

e xce s s of $50,000," See E xh ib it "A. H

           11.       Give n the e xte nt of injurie s a lle ge d in this ma tte r a nd the unde rs igne d oouns e 1's

e xpe rie nce with la ws uits involving burn inj urie s , it is cle a r tha t P la intiff is de ma nding a n a mount

in controve rs y, e xclus ive of inte re s t a nd cos ts , in e xce s s of the juris dictiona l minimum s e t forth

in 28 U.S .C. § 1332.

111.       S E R VIC E O F C O MP LAINT

           12.       Am a z o n wa s s e rve d with th e C o m p la in t o n Ma rc h 1 5 , 2 0 1 7 , a n d th e re fo re , its

re mova l ha s be e n time ly file d in a ccorda nce with 28 U.S .C. § 1446(b)(3). See Affid a vit o f

S e rvice , a tta che d a s Exhibit "C."

Iv.        VE NUE O F R E MO VE D AC TIO N

           13.       This a ction ma y be re move d to this Court by Ama zon purs ua nt to 28 U.S .C. §

1441 (a ) be ca use this ca se wa s initia lly brought in a sta te court within the ge ogra phica l a re a of the




                                                               3
           Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 8 of 66



Ea s te rn Dis trict of P e nns ylva nia , a nd be ca us e this Court ha s juris diction purs ua nt to 28 U.S .C, §

I332(a).
v.       NO TIC E TO O THE R P AR TIE S

         14.       Ama zon is not re quire d to obta in cons e nt for re mova l from Ea s yAcc.com, Inc.

pursua nt to 28 U.S .C. § 1441(b)(2), a s Ea syAcc.corn, Inc. ha s not be e n se rve d.

         15.       W ritte n n o tic e o f th e tilin g o f th is No tic e o f Re mo va l h a s b e e n g ive n to a ll

a dve rs e pa rtie s in a ccorda nce with 28 U.S .C. § 1446(d), a nd is note d in the Ce rtifica te of S e rvice

a tta che d he re to.

VI.      NO TIC E TO S TATE C O UR T

          16.      P romptly a fte r filing in this Court a nd the a s s ignme nt of a Civil Action Numbe r, a

Notice of Re mova l will be file d with the Court of Common P le a s of P hila de lphia County, in

a ccorda nce with 28 U,S .C. § 1446(d).

VII.     P LE ADING S IN THE S TATE C O UR T AC TIO N

          17.      Am a z o n file d P re lim in a ry O b je c tio n s to P la in tiffs C o m p la in t, wh ic h we re

pe nding a t the time tha t this Notice of Re mova l wa s file d. In a ccorda nce with F.R.C.P . 81,

Ama zon will file a n Ans we r in this Court within s e ve n da ys of filing this Notice of Re mova l.

          18.      All re le va nt ple a dings , proce s s , orde rs , a nd othe r filings in the s ta te court a ction

a re a tta c h e d to th is No tic e a s re q u ire d b y 2 8 U.S .C . § 1 4 4 6 (a ). Th e s e co n s is t o f th e

a fore me ntione d Exhibit "A," a s we ll a s a dditiona l docume nts tha t a re colle ctive ly a tta che d he re to

a s Exhibit |lC0|l

          WHEREFORE, De fe nda nt, Ama zon.com, Inc., re s pe ctfully re que s ts tha t this a ction now

pe nding a ga ins t it in the Court of Common P le a s of P hila de lphia County, Fe brua ry Te rm 2017,




                                                           4
          Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 9 of 66



No. 07699, be re move d to the Unite d S ta te s Dis tric t Court for the E a s te rn Dis tric t of

Pennsylvania.



                                                     Res pectfully s ubmitted,

                                                     MARS HALL DENNEHEY WARNER
                                                     COLE MAN & GOGGIN
                                                                      ;




                                             BY:
                                                     KQITH D. HEINOLD
                                                     Attorney for Defendant,
                                                     Amazon.com, Inc.

Da te :   '1/4 {7




                                                 5
                Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 10 of 66




COMMONWEALTH OF PENNSYLVANIA
                                                                                                       SS
COUNTY O F P E NNS YLVANIA



                                                                                           A F F ID A VIT .

                KEITH D. HEINOLD, being duly swom according to law deposes andsaysthat the facts

s e t fo11h in the fore going Notice of Re mova l a re true a nd cone ct to the be s t of his knowle dge ,

informa tion a nd be lie f.




                                                                                                                      q.




                                                                                                      MTHD. HEINOLD


SWORN TO AND SUBSCRIBED
                ,J
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  X
            NOTARY p [jBLI
                             5/ /
           COMMONWEALTH OF P[8NNSYLVAN|A
                     NOTARIAL SEAL
            Audrey m. Gaffney, Notary Public
            City of Philadelphia, Philadelphia County
            My commission expires July01,2 0 i§
        Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 11 of 66



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the forgoing Notice of Removal was

served this date, via United States Mail, to the following persons:


                                    Feeda R. Musitief, Esquire
                                         1333 Race StTeet
                                     Philadelphia, PA 19107
                                      (Aiforneyfor PZaintw9

                                           Searay LLC
                                        c/0 INCUSA LLC
                                        36 Berkley Drive
                                       Newark, DE 19702
                              (Registrant 0fc0~DefendanI EcrsyAcc)



                                                BY:      Y / /          f



                                                      KEITH D. HEINOLD
                                                      Attorney for Defendant,
                                                      Amazoncom, Inc.


Date:
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Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 12 of 66




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       EXHIBIT
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                        Cond ofCommo|1Pleas ofPhiladelphia County
                                    Trial Division
                                        Civil Co ve r S h e e t
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                FLA|NTiFF'5 NAME                                                                           DEFENDANVS NAME
                 JULI AN' BR AD LEY                                                                           AmAzon.com,Inc.


                PLAINTIFFS ADDRESS                                                                         B'@snoA|~ar'sAnnaess
                 319 E. MILL ROAD                                                                            410 TERRY AVENUE NORTH
                                                                                                             SEATTLE WA 98109
                                                                                                                                                                                                   g
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                | ' LA| NTIF F S NAME                                                                      DFFENT)ANT'S NAME
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                                                                                                              AMAZ O N . CO l \ 1, INC I


                PLAINTIFFSADDRESS                                                                          DEFENDAH'|'*SADDRESS
                                                                                                             XYZ                                                                                   a
                                                                                                             XYZ PA 19107

                                                                                     \
                PLAlNT£FF'S NAME                                                                           DEFEHUANTS NAME


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                FLAINTSFFS ADDRESS                                                                         DEFENDANT'S ADDRESS

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                TZAL NUMBER OF PLAINTIFFS               TOTALNUMBER QFDEFENDNWTS                   con 4§|4r:EluEurop .rmzou
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                                                                                            MAR 01 2017
                                                                                                      K. EDWARDS

                 'ro THE PROTHONOTARY:
                 Kindly c11tcr my appearance on behalf oi`PlaintiffiPetitione\'/Appellanf:,TULIAN BRAUTEY
                 Papers may bc scwcd at the address set forth below.

                 NAME OF pLA|n1|FF's:pc1'|r|onEtz'sIAl>|>mAnr'a ATrORN|8Y                                   AnoRess
                    FEEDA R. MUSITIEE                                                                         WINE AND STAUD LLP
                                                                                                              1333 RACE STREET
                                                                ?A§r\§E¢                                      PHILADELPHIA PA 19107
                                                                 (215) 665~1393

                  SUPREME oouR`r IDENTIFICATIGN mo.                                                         EMA\L ADDRESS
                    202768                                                                                    fmu s i l ; i e f@ fi r xe a n d s t a u d . c o m


                  SIGNATURE OF FHNG ATTORNEY OR pARIY                                                       DATE SUBN       D

                    FEEJJA M081 TIEF                                                                          wednesday, March Ol r 2917                           10- 00 am
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    FINE Arm STAUD, LLC                                                                  ATTORNEYS FOR P LAINTIFF
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    BY: FEBDA R. MUSITIEF, ESQUIRE                                                                                               }._¢,=_-\==|_,.

    Att'o1.;1ey I.D.: 1202768                                                            e

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    1333 RACE STREET                                                                                            File                         ste b t h e
    PHILADELPHIA, PA 19107-1585                                                                                Offi G                              I
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    ELELIAN BRADLEY                                                               COURT OF COIVIMGN PLEAS                                                                                                    E
    319 E. Milk Roa d                                                             PHILADELPHIA COUNTY                                                                                                            5




    Ha tboro, P A 19040                                               \..


                        P la intiff,
                vs.                                                               lo-L
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    EAS YACC.COM, INC.                                                            NO I       1|                                                                                              gi

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    AmAzon.coM, INC.
    410 Terry Avenue N'o11h                                                                                                                                                                                  E
    Seattle, WA98109          .
                      Defendants                                                                                                                                                              I
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    are sawed,By entering a. written appearance* personally or by al pax1ii. de Ta fecha de la demauda y' Ih rlotiticacié u.
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    objé ctions to the claims set forth against you.              0 con un abugado y enhregar a'Ta (:urte en fOmia ascrita
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    YOU CAN GET LEGAL HELP. Tms UFFICE CAN
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    A LAWYER.                                                                                 DIRECCION SE BNCUENTRA BSCRITA ABAJO                                                                       1
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     O F F I C E M A Y B E A B U 8 T O P R O V I D E YO U W I T H                                                                                                                                                    i
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                      Lawyer Refxzrrnl &. lnfonnation Service                                                                                                                             E
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       FINE AND STAUD,.LLC=                                            ATTORNEYS FOR P LAJ NTIFF                                               5
       BY: FEEDA R. MUSITIBP, ESQUIRB                                                                                                          E

       Aifomey LD.: 202768                                                                                                                     I
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       1333 RACE STREET                                                                                                                        If

       PIMLADELPHIA, PA 1910741585                                                                                                     I

       215-665-0100                                                       MAJ OR. J URY
       §ii1usitief@FiL1eandstai1d.con1.                                                                                                        i
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       JUL1AN~Bi§ADLBY                                          COURT OF COMMON PLEAS1                                                         §
                                                                                                                                               x.
       319 E. Mill:Road                                         PH]]JA]3ELPHIA COUNTY
       Hatboro, PA 19040
                                  Plaintiff,
               vs.                                                              TERM2017                                                       1
       EAS YACC.COM, INC.                                       NO.:

                                                                13841; BY WRX QEMANDED.                                                        I
                 and                                                                                                                           1
       AMAZON.CQM, INC.
       410 Terry Avenue North
       Seattle, WA98109
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                        Defelmdants                                                                                                             I

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                 P1ah;tii?l',` Juliéitl Bradley, by and thrdugh 11is= attorneys, Fine, and Stand, LLC states he has
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       multiple causes, of action again§t Defen'd3nts,- Easyaénxcoui, Inc and1*l3t1a2oi1.com, Inc and 'm support                           I




       thereof avers thc following:

                                                        I. PARTIES

       L   P1éxiuti8§ Julian Btadlqg is911. adult individual alld resident of 1116. Cbmmbnwealth of Péhnsylvania

       residing at the above stated address.

       2. Defendant, Basyacmoxn, Inc ("EasyAce"), upon information mud belieli is acorporation existing

       by virhle of the 18ws of China /Hong Kong which regularly conducts businessin the Conlmonwealth of

       Pennsylvania, with substauiial contacts in the Commonwealth of Pennsylvania. After reasonable

       investigaf.io1.t,. Plaiuliff is unaware of a good address for service of 8148 Complaint for Defendant,

       EasyA<>c.




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3. EasyAco is vicariously liable for thc negligent and/or reckless acts andlor omiwions of ifs
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employees, servants, workmen, and/or agents wl1o at all material times were acting or failing to act in

the cbutsb and scopé Qf f1;eir'emp1o§m1ent,auihqrity, and/or agency A'c all material times, Easyacc was
                                                                                                                                                                 L
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the manufacturer of EasyA<:o Ichoc Power Biiulq S000 which is an extemal battery pack charger for                                                                                 E
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Tphone and othdr.smmt deviées Gwreiuailer "Charger"}.
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4 . Defea1dunl', A.muzon.con1, [no ("Amazon"), upon infomation and belief, is a coqxwrafion and                                                                      I



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onlille- conlmenze giarit wliich regularly conducts busipesé. in the Commonwealth of Pennsylvania, with

substant.ial. contacts       in   the Comnonweglth of P ennsylvania, a n d with Qftice s at the above Stated                                                                              »
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address,
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5. ,Ama zon iS vic a rio u s ly lia b le for the negligent acts mid/or omis"sio11s of its- employees, Scwanis,

workmen, and/or agenis who at all material times were acting or failing, to act in the course and scope

 gi? t1t9i14 ¢mp1oyn;e.nt, auiho1.ity,.441§1»lQr. agency..


6,    At all material times, Aniaznn sold und distributed the Charger.

                                          H. JURISDICTIDN                                                                                                                 1




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      Jurisdiction and Ve nue are p ro p e r in the Court Of Com'moi1 Ple a s in P h ila d e lp h ia C o u n ty                                                           I
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 Commonwealth of Pemlsylvauiu in that Defendants 1'egula.rly conductbusiness in Philadelpllia and all

 events relevant to this matter nccuned in Philaddphia. County; Commonwealth of Pennsylvania,                                                                                 I

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                                          ]Ij[_.Q]?}]RAT_[VE FACTS

 8.    On or a bout J uly 4, 2 0 1 5 , Plaintiff; Julian Bradley's tiancé e, Lauren Henriques, purchased for him

 the Chalgcr to charge his Iphone under order # 1]5-3206735-0713052-fn>m Amazon.

 9.    At allxiuaterial times, the Charger was wireless s

 -10. On or about- Mavch 18, 2016, Plainafi Julian Bradley, was charging his Iplmne and placed his
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 l"p13on<s and the Charger in his dght leg Ican's pocket.




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        11. At a ll timcs relevant, while Plaiintiftl Julian Bradley, ww? chargillg his Iphone using the- Chargpr,             l
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        the Charger, suddenly aNd without warning, igNited. exploded and caught .tire causiNg severe and                       l                E
                                                                                           >
                                                                                                                               i                s
        pemlauent injuries to PlainlU3?.

        12. The incident a nd the injuries sufté red by P1aLntiE were caused solely by the negligence,
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        carelessness, andtdck1ess1j1essofDef|3ndan1S,-Am82lDila\1d.EasyAco, joi111'ly'ar1d/or siiiverally.
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                                                    NEGLIGENCE                                                                                  i
                                           J ULIAN BRADLEY v.DEFENDAl*iT8
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        13. Plaintiff incorporates all of tha proceeding paragraphs off this Cotnpla`mt as set forth fully at length
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        14. Defendants did ma11ut`actu1'e;sell cmd/or disfribUte the charger in question.                                          I
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        15. At- all matnrizil times, Defendants owngd, msmufactured, .dish.iblited, comrolled and/or otherwiSe                     i
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        amused the charger to' be p:Iaced jlmto the stream of comme1*ce.
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        16.    At all material times, Defendants were responsible fov n1anufacEu1.i11g~and disixibuiing the charger

        iim a condition suitable and safg. for operation by members of the-public' including1*xaintif£

        17. At all material times, the. chm'ger.wa's unreasonably- dar1ger.°i1s8nd'u.usafe foriise by the average

         consuMer as it ¢'ou1d swidenly ignite, explade, and catch fire.p<J$i11g serious haM io inembers of the                    |


         public.
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         18. Dbfendants-knew or should have knovm that the charger was capable- of ignit`ing,. exploding, and                          I



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         catching Bra: while being used as 'mtend<:d.

         19. UPON inf.om1ation and Belief, Dafsndants were aware of prior iucidem,s iNVolving fha sudden

         ignition and explosion of ihe cha1*ger.in question but continuecl to market and distribute the charger.
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         20. Defendants lmewlv or should have known that the Charger sold to Plaintiff was not reasonably safe.
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         21. At all times mlevmxt, Defendants thiled to warn the public ixmcluding but not lknited to the dangers                          i


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         involved in using this charger.




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                        22. At a ll ma te ria l Time s, the dangers posed to Plaintiff from the Charger were latcrit andmullcnown to
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charger and its packaging      ll ma te ria
                                   wam      l time
                                          that  thes, t`l1¢                                                                charger could suddeNly                                 I




                        igiiite, explode and otlxerwise <;8toh.i1re,

                        24. The latent daugfgr was created by the negligence: and 1'cckIe.ssr1ess. ofDefendat1ts.                                                                 I


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                        25; .At` all material times{Defendunts failed to warn consumers including P1aintii3'8 of thedangers posed                                         !

                        fiom the chm'ge1~ i11c1ud'mg. but not limited to the tkict that ii' could suddenly ignite, explode and satch                                      !
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                        ike whiltn being used as intended,                                                                                                                        i




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efendants .             ze,
                         nce'.au<L
                            .P1aiutiEE's
                                    x¢ ir;\ju;ri<>s Were' caused solely by t11e'neglig¢                                                                                   i
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                        27. As a direct and proximate result of Dafendants' 11eglig€;J1c.e and 1'ec1dg8ssn6ss, Plaintiff was caused

                        lo suH'er severeand. permanent iuj uri€S aS describéd below.
                                                                                                                                                                          1




                        28. Defendant's negligence consisted of but-is not limited to the following:

                                            21.   Ifailinmgin warn Plainiiffthat the charger was defective;

                                            15, Failing to wam.th`af `the bhqxger could siiddenly ignite, explode and catx:h fire;

                                            c.    Fai ling to warn 8mt the c11arger'a`battery'could suddenly ignito, explode-and

                                                  catch fue;

                                            cl.   Failingto wam of the latcut and hidden danger created from using thc
                                                                                                                                                                              I


                                                  charger as intended;

                                            e.    Failing to properly redesign, rc1na11u.facture, repair and/or maintain said charger

                                                  btafore it was sold. or distributed;

                                            f     Permitting a dbfcctive and dangerous charger to be used by Plaintiff;

                                             g. Failing t0 clinJi11ate,. repair and maintain the aforesaid defective changer;

                                             h.   Allowing and permitting there tn exist in dangerous and defective condition a ie r

                                                  actual and/or constmctive notice ofsaid defe ct;




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                  Case 2:17-cv-01587-MSG Document
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                                  i4 Manufacturing, distribufiug and selling a charger that Hwy knew or should have                     1
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                                         known coqld ignite, explode and catcih life;

                               j, Fziiling
                 B;ty1 of cbmlnerce aRer actual'
                                           to take
                                                 and/or
                                                   the charger-Qut of stL.¢
                                                                                                                                        3g
                                                                                                                                        i
                                          constructive nbtice of its defective co11ditio11,

                                  k.      Failing to wnm the Plaintiff and others similarly situated of the aforesaid                           Ii
                                          defective and dangerous condition of the charger;
                                                                                                                                                i
vs. ccndiiion;                    1.      Allowing
                                                f'e¢and pcrm1'tti,;tg. said charger to be and exist in 4 <l¢

                                  (111 Failing pndilion
                                               to u1h'mtai11
                                                        before
                                                             theit charger in a good state-ofrepair zu1d¢
                    4




                                           was put in the ciiain of Qominefce,

                                  11.     Failixug tO properly and adequately inspect the aforesairl~ deiieetive chalgetj so as

                                           to determine the conditionthereof,

                                  o.       Viblating applicable laws, codes, and ptdinances withrespect to the Care,
                                                                                                                                            1




                                          Maintenaucb cOul;:o1 and repair Gftlie chargé f provided to Plaintiff;                            1




                                  p . Negligent hiring of conttabfols, emplaye-eS, worknixien, and senzants;

                                  q.      Negligent training of co1111° actors,.e1np1uyc-ses,workmen, and servants;
                                                                                                                                            i
                                  1 '.    Negligent supcxvisinn of contraotoxs, employé esyworlcmen, and scmvapts;                          I


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                                  S.       Failing 'to pr6p<-:ily fik the dangeroUs condition;

                                  'f-.     Failing to remove the dabgcrous condition;

                                  u.       Paiiiug to wam of111e dangerous ccudititm,

                                   v.         Failing to provida a safe electrical system and/or battery in the cluwger;

                                   w.         Failing to provide proper materials and component partk when manufacturing the

                                              cha rge r;

                                   11         Failing io design the atbresaid charger in n safe coiulition;

                                    y.         Creating, manufacturing and distributing the clmarger that could suddenly ignite,

                                               explode, and catch fufe while being used as intended,


                                                                                                                   Case ID: 170207699
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                                       z.    Ihgldtaquate design of the chargemj and                                                                   \

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                                      aa.    Failing to exercise caution md care. fbr the rights and safety bT`P1`ain;ii*EatLd
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                     29. As a direct
                                nce and
                                     ifmdreoklbssness
                                          proximate result
                                                      oi' Defendants,
                                                           of the catelessness,.neg}ig¢                                                                            I
                     jointly, severally, and/Or vicamibUslygPlaiimtifff, Julian Bradley, sustained serious and permanent bodily
                                                                                                                                                                   I   i
                     'Lnjuries including widtout limitation, ug uribs to His xnUsules, lhiglt; leg, hand , scars, scarring wounds,                                 I
                                                                                                                                                                       a
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                     second degree deep burn on upper righ; th.igh,. bums and scars on right thigh/leg, left' hand bu1'n,                                          i




-pain,               sweiling, redness, blisters, mu§             and aggmvation ofpre-existing coudiiious if any, other ills and

                     injuries
                     nt; Plaintiff
                              some was-
                                     or all
                                        prevented
                                            of whichfrom
                                                      i.njurios
                                                           attending
                                                                may be
                                                                     -top.eri;;an¢
                                                                         his

                     usuad duties and activities, has and continues to suffer pain and suffering' of mind and bpdy, mental

                     anguish apd distress, in addition, he has suffered and/or will suifqr [ost wagqs, 4 loss bf earnings and/or

                     canning capacity and other gcopomic losses including but not limited tU ouxstand`mg medical bills ancl                                    I




                      the need for future fné dicaf t1'ei1tn1ent and cars all to his financial deirihlent.

                          W H E R E F O R E , Plaintiff Iuliaui Bradley, hereby requests t11is.Honorahlb. Court to enter judgment

                      in his favor and against Defendants,
                                               ;           Easyacc.cd» m,. Ina and Amazon.c0m,.I11¢jqintly and/or. severally,                                  l
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plus interest, delay damages,
                      iN a sum and
                               gx-é costs.of
                                    at¢      suit.
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                                                                     COUNT II
                                                                STR1Q;r L1AB1L,I1'Y |
                                                        JULIA1\{_811ADLI8Y v. D18FE;~1DAn"r§


                      30. Plaintiff incorporates all of the proceeding paragraphs of this Complaint as set forth fully at length

                      lierein,

                      31. The charger was designed, inanufactLL1'ed, developed, distributed, asScmb]ed, produced, inspected,

                      licensed, promoted, packaged, processed, compountleii, labeled, speciiied or raconlmeuded, certified ,

                      marketed, sold, or otherwise supplied and placssd in the stream of coMmerce as hcxetofon: set forth by

                       Defendants in a manner which was not in a good and proper worlmmnlilce fashion, in a defective



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                      condition unieasonabiy .dangizrous tb the. ultimateiuseis, consumsrs, and bystanders, including Plaintiff
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                      Julian Bradley.                                                                                                                                            I
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                      32. The' charger was expected- to gmd did reach the uIl`in1ale. users, cox1sumer.s, and 1Jysiat'Ld6rs,                                             I
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                      including Plaintiff, Julian Bradley, without substantial change or 8lterutio11 and 'um thé . same or
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                      substantially the same cdndition as when
                                                          d, wliile
                                                                 it was-mmmfabtured,
                                                                    in or            sold, labé led, Or distribuI¢                                                       I
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                      as it198; the possesé sion arid contuol of Dkefendzmts.

                      33, The aforementiotiedcharger was defective and unsafe when it left the control of Defendants, in                                                 .

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                      that it was not safe for the reasonably foreseeable use which subjecied Plaintiff, Julian Bradley, to                                              3




                      sexious injuries when the aforeulantinlledcharger was-used ina reasonable and foresesalile manner.

                      34. The cllarger was defectively designed .audlor manufactured in that it Was capablsé of catching Exe                                             I        E
                                                                                                                                                                                  !
                      and seriously injuying Co1lsl!iyl€1`s..
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                      35. The nhatger pdsed an unreasonable danger to intended users such as PlainiiEduetg its defcct.                                                               I
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                      36. Th e    c» ha1'gel'was   defeCtive and uusaiie because- it could suddenly- ignite, explode- and' cafch fiie                                        !
                                                                                                                                                                             i
                      causing severe andpennancnf injuries to Plainfiill                                                                                                     t




                      37. Upon information gud beiiei tlie charger was deté ctive and um'eason.al51y dangerous as it did not

                      coniain all app1:op1'iate safé ty Meciiulmis1ns and safeguards to p1dveut the aforesaid .hmm from
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                      OCCLLl`l`iI1g;


                       38=   T116 charger was defeciively and uegligently 1nanufactu1.ed and/01. distributed by Defeudantiz

                      causing the product to he unreasqnably dangerous and caué ing the afolementibned harm to occur.
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                       39. The dlisign ofthe charger posesuuneasonable dangér to the public.                                                                                 I
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e charger contained, deiiective
                       40, Upon co1nponents'&rL<l.
                                  ilxformation and bc>Iiei§
                                                   warnings causing

                       the product to be unreasonably dangerous and causing the aforementioned hann to occur.

                       41. The chaxggé r that injured Plaintiff was in the same or substantially the same condition at the time it

                       injured Plaintiff as compared to the time it left the control of the Defendautfi.

                       42. The charger was being. used for its intended purpose at the time it injure-d Plni11ti§

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    43. Upon iltfolmiition and belief, ai all 1nate1'iaI times hereto, tha warriings if any accompanying The                                             E
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    charger were defeciive and did not properly info rm and wa rn the public as to the hidden danger created                                     I l
                                                                                                                                                 i.
    by the Ghafgel' which included that the charger could suddenly ignite, explode and catch fire;
                                                                                                                                                 TI
                                                                                                                                                                  w
    44. Upon infomuation and belieii the warnings if any, contained on or with the charger, issued by
                                                                                                                                                 1




    Defe1Idai1ls did not adéquately anti iimlly inform thepuBlic oil the safe usa of the Product iNcluding but

    not limited to propqrly use it, for its intended pu1pose;.                                                                                           a
    45 I D'efé m"lauts failed to warn concerning the. hazaulposedfrom the ordinary usage of the chavgev.                                                     l
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    46; Due to the defective conclitio1\(s) of the product and wnmings, a significant danger was peimilted

    to exist which caused the harm sutfored by Plaintiff.
                                                                                                                                             P               I
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    47. At all material times, tllis da nge r was latsntaxxd unknown to Plaintiff but appfeciatfzd and lmown
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    by Defendauis,
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    48. AS a dhect. and proximate result. of the aforementioned unsafef and defective; condi1~iou(s) of-tl1s.                                                I4

    uliarger, P18aiutifI:` sustained seven-> and pernlalient injuries as previously mentioned above.
                                                                                                                                                     i


    49. Defendants are slrictly. liable to the Plaintiff p\1rsuant. to 402A of the Restatement (Second) of                                           I
    Toi'ts;
                                                                                                                                                     I
    50. The ufQ1'en1e11ti9i1ed cilnarger Was Not equipped with evdxy elemcint nc-icessauy to make ii safe for

    reasonablyf01'@s@cabIeuse.

     51. Defendants ana stridtiy liable ibn the injuries Plaintiff suffered' as a resizlt of his use of'tl1e defhotive

     charger, which at all pertinent times was under the exclusive' control 0ft11e.Defendants..

     5 2 . As    direct and proximate result QP.the #1fo1'c1u6n1i0n¢d unsafe and defective condition of the

     C.ha1'ger, P1ai111iiT, Julian Bradley, sustained the `mjuries and damages set as aforementioned .

                WHEREFORE, Plaintiff, Julian Bradley, hereby requ6s1s. this Honorable Court- to enter

     1' udo
          .31nent i n hi s favo r and avai
                                        I, nst Defendants Eas
                                                           > ' z\c» c. co m, I nc and A uxazo mco m, T nc, '.3
                                                                                                             o i nti T
                                                                                                                     > and/o 1'


     severally, in u sum greater1hm1 $50,000.00 plus interest, delay damages, and costs ofsuit.




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                                                                                                                                                                                  I
                                                              COUNT III                                                                                           I

                                                          PUNITIVE DAMAGE
                                                     JULMN BRADLEY v. DEFENDANTS.

                   53. The averments of- all preceding paragraphs' 8i'e iné orpbrated by reference as tf:Lo'ugl1 fully set foNh

                                                                                                                                                                                      4
                   herein.

                   54. -At all matefial 'times, the production and distribution of The charger was substantially below industry

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                   standauls and done with reckless disnagard for the safety ofthe pubiio including Julian Bradley.                                                   I
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                   55. Defcndagtts- knew and/or recklessly diswgatded the' fgust iihat the.                       Plaintiff was uising was                                            I
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                   highly iiaugerous and could Wsult in se1'ioiJs-`ii1jt1ry.

                   56. Upon intbrmartion and belief, Defendants were well awaté prior to Pl2iintilT's injury that the charger                                         i               l
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                   could suddenly ignite, explode sind catch fue.

                   57. Upon iL1Eonnatio11 and beliei othemf incidents where the charger suddenly ignited, explocledfaxld                                                              I
r Plaintt1t1"s incidentcaught
                        whichBw
                              l1av¢
                                 have ocgurred befom and afi¢                                         caused injury br substantially                                      .
                                                                                                                                                                          i



                   endangered melilbers. o f th c pllbli€> but Defendants' recklessly, wantfmly, and witii gre a t dclibe ra lo

                   iudiffefe1ice to. the well-being:oE public continuqd to market and sell the chlarger- without change and

                    without adequate: warnfug.to thegpublic.
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                    58. Defendhnts deliberately and/or-recklessly mado no aiifort to wam the public i11cIuding.P1ai.nti8` to the

                    known risks of tha charger, creating an unreasoilalile risk of physical harm'to Plaizniiff and <>'d1;ers similarly

                    Situated.

                    59. DnafenClauts' reck1essn¢     anfl reckless disregard consisted of but is not limited tothe following:

                                       a.    Failing to wam Plai111i8 that the charger was defective;

                                       b.    Selling and distributing a., product known to Defendants to suddenly ignite,.

                                             explode and catch Etc,

                                        C.   Conceuling that the charger could silddenly ignite, explode and catlth firs;                                                     I
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                                        d. Failing to warn of the latent and hidden danger created from penniltiug thc

                                             use of the charger,


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              e.        Failmgi0 properly repair and maintain said charger befora it was
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                        so1cVdistTibuted;                                                                                                                                   E    I



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              f, Penm'11ing a defective and dangerous chmgel' to- bsused by Plaintitli                                                                                      4
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              .g,       Failillg to' é 1i111inaie,.repai1° and lnalntain Hia af`o1'qsaid defé otive charger;                                                    i
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              h.        MarketiNg and selling a product knoxivn to Dei`e11d8111s- to cause serious hamx or
                                                                                                                                                                1
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                        injury,

              L         Allowing and permitting theta to exist atdangerousand dé fectivs condition. after                                                       .
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                        actual and/or oonstmctive ué lice of said defect,                                                                                       I
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              3.        Failing to take the-'c11axge1' out of stwam of comrnerce after actual and/or                                                                        I
                                                                                                                                                                            I
                        coxlshuctivo notice of its defective condition;
                                                                                                                                                                            I
                                                                                                                                                                    :
               k. Failing To warn the Plaintiff and others similady situatvad of the afoI@s8id                                                                              I
                                                                                                                                                                I           !
                                                                                                                                                                            I
                        defective and dangerous condition-of the cha1'gc1=;


               1.        Allowing and permiffing said charger to be and exist in a defective eontlitiou,

               Ill. Failing, to 1na'mtain the charger in. a good slate of repair and Cé lidition before it

                         was put in the clrain of commerce,
                                                                                                                                                                    l

               11.       Failing to properly and .adequately inspect the aforesaid defective charger so as'

                         to determine the condition thereof,
                                                                                                                                                                    a
                         Violating applicable 1'aws,.codes,° aud Qrdiuances with wspect to the cane,

                         mainfena11¢€, control and repair of the charger provided to' Plaintiff,
                                                                                                                                                                    r
                P;          Recldesss hiring of contractors, employees, wrxrkmen, and servants;

                Q.          Reckless training of contractors, employees, workmen,and servants;

                1'.         Reckless supewisiol; of contractors, employees, workmen, and servants;

                S.          Failing to properly treat tire dangcwus condition;

                   t,       Failing to remove.tl1e dangerous couditiqng

                u. F ai l i n g t o W ar n of t h e d an g er ou s c m1 d i t i on , an d


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                       v.    Failing to exercise caution and cme fdr the rights' and ssfety of PIai.ntift` and
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                       W-.    Eailinng to provide a safe electrical system in the cl1arg.er;

                       x.     Failing to provide proper matsrials and componelut parts whgu nmau1xfactxuiimg the                                         E
                              chargcsr,                                                                                                                  E
                                                                                                                                                         E
                       y.    Failing to xwé deslgn and1'en1anuf`acture the charger after k110wi11g.0f tho serious                                        8
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                        z.
                             <lauger pose(Ltoconsu1ne1's,~

                              Failil     to design, the aforesaid charger in a safe conditiwng, and
                                                                                                                                                         g
                        aa. Failing tc) exercise caution and care fdr tlié rights and safety Df Plaintiff and
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                             others 1                                                                                                                    1
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    60. Defendants' actiOns demonstrate recklé ssness and Iccldess disregard To I*Ia inli1T's he a lth a nd we ll

    be ing.

    61. As 'a direct'res11'lt of Det`enda11ts' recldessness- and deliberate indifference, Plainti13;`suj3:`enE>dii4uries

    aS pled abQve,

    62. Punitive damages are appropriate against Deféndanfs. to                      deter fiuther harinihl inaction aucVor
9


    con duct.

                 WHEREFORE8, Plaintiif, Julian B1° adl`ey, demands judgment in his favor and against

    Defendants, Easyacc.com, Inc and Amaznmcom,
                                         ss of  In c, jointly and/or severally, in gn amount in exci¢

    Fifiy Thousand Do1Ia1's ($50,000.00) including compenszitory damages, punitive damages, c o s ts o f

    liti gation, intexeSt, alid delay damages, and all other relief deeMed just amd apmdpriate.


                                                                 Respectfully Submitted,

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                                                                           M\1sufi@)f, Esquile
                                                                  At l Iueys for Plaintiff
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                                                                         VEIUFICA TION



                                        I, Julian Bmdlny, hereby state ilmt I um the Plui\xtii1' in this matter and that the

                                tsvernlellts nonfaiueml in the foregoingpleading/discovery are frue and correct to the best of my

                                knowledge, intbrm ation and belief,and further that this statement is made subject to the

zltizlg to uusworn falsiticaxiiolz.
                               panalties of 18 Pa. C.S. §


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                                                                                         Julian Bradley




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                                           vvbvv
       EXHIBIT
                     Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 29 of 66


Castafero, Kelly J.
From :                            Jason Xie Uason@easyacceu.com}
Sent:                             Friday, March 31, 2017 11:44 AM
To:                               Castafero, Kelly J.
Subject:                          Re; Inquiry about Searay LLC


Hi Kelly

Thanks for the effort in this case.
According to what I know, I can provide the information as below:
(1) how many members there are, -- There are 4 members, all are Chinese. Names are: Yamin LIU, Yeping
XIE, Wei PAN, Xing SU.
(2) whether any members are individuals (and where they live) --They are all individuals and they are living in
China.
(3) whether any are corporations (and where they are incorporated/ where their principal piace of business lies),
 _- 36 Berkley Dr.
Newark, DE 19702
(4) whether they are other types of entities such as LLCs -- Just Searay LLC

If you need more infomlation, please let me know.


Mit freundlichen G1"LiI3en / Kind regards

Jason Xie
26 Purley Road,London,SEl5 5uQ, United Kingdom
Mobile: +49 15227702217
E-mail: jason@easyacceu.com
SkypeID: skypeyechen
Internet: www.easvacc.com


2017-03-31 23:25 GMT+08:00 Castafero, Kelly J. <KJCastafero@mdwcg.com>:

Jason I




I was given your contact information by LegalForce RAPC. My firm represents Amazon in a lawsuit against it by an
individual who claims to have been injured when an EasyAcc iPhone charger that he purchased on Amazon caught on fire
in his pocket. EasyAcc.com, inc. is also a defendant in the lawsuit. l understand that EasyAcc is actuallyjust a product
line of Searay LLC.




 We are looking to remove the lawsuit from state court to federal court, which is a more favorable forum for both of the
 defendants than Philadelphia, where the lawsuit is currently pending. However, in order to do so, we need to know the
 citizenship of Searay LLC. The citizenship of a limited iiability company is the citizenship of each of its members. Would
 you be able to tell me who the members of Searay LLC are, so that we are able to remove this lawsuit? lf you cannot give
 me the exact identities, it would be very helpful for us to know (1) how many members there are, (2) whether any
 members are individuals (and where they live), (3) whether any are corporations (and where they are incorporated/ where

                                                               1
                            Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 30 of 66

their principal place of business lies), and (4) whether they are other types of entities such as LLCs. Of course, if you are
able to disclose their exact identities, that would be preferable.




Please feel free to call my office if that is easier, or if you have any questions. I truly appreciate any information that you
are able to give to mel




Kelly Castafero




  MARSHALL DENNEHEY
  WARNER COLEMAN & GOGGIN
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     VA      r~l       mi        u H         FL       Nv



                                                           2000 Market Si.
                Kelly J. Castafero                         Suite 2300
                                 Attorney a t L a w        Philadelphia, PA 19103
                                 bio |e-mail| website      Direct;   (215) 575-4555
                                                           Main:     (215) 575-2600
                                                           Fax:      (215) 575-0856




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       EXHIBIT
       Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 32 of 66




FINE AND STAUD, LLC                                              ATTORNEYS FOR PLAINTIFF
                                                                                          l}f               .£
                                                                                                 . 4%8 aa *3_         =3'4
BY: FEEDA R. MUSITIEF, ESQUIRE                                                             ,;»
                                                                                                       4*         .

Attorney LD.: 202768                                                             171.18                                      the
                                                                               offi qi-9: t x 1384 * .9 ReVords
1333 RACE STREET
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PHILADELPHIA, PA 19107- 1 S85                                                                           90
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215-665-0100
Fmusitief@FineandStaud.com

JULIAN BRADLEY                                 COURT OF COMMON PLEAS
                                               PHILADELPHIA COUNTY
                                               Febnlary Term 20 I7
                     Plaintiff,                NO.: 007699
          vs.
EAS Y AC C C O M, 1 nc,
          and
AMAZONC OM, INC .
                    Defendants




                                  4.FF1DA     oF s41yIcE

       I, FEEDA R, MUSITIEF, ESQUIRE, being duly swom according to law, deposes and says

that he served a true and correct copy of Com plaint and Discovery, Civil Action in the above

captioned matter upon Defendant, Amazon.Com. Inc. by Certified Mail, Return Receipt Requested,

which was accepted on March 15, 2017. A copy of the Return Receipt Card is attached here and

marked as Exhibit " A " .


                                            FINE AND SMUD1 LLC
                                                             f
                                                         J


                                                     I




                                        FE]8bA R         HEF, ESQUIRE
                                        Attorney f~ Pla itiff




                                                                                                            Case ID: 170207699
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                    EXHIBIT "A"

                                                           Ca s e ID: 170207699
                                                   Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 34 of 66                                                                                        l


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                                                                                                                                                            so that we can return the card to you.                               B. Received by ( Prinied Name)            C. Date ot Delive
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       EXHIBIT vvDvv
     Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 36 of 66




MARSHALL DENNEHEY WARNER
COLEMAN & GOGGIN
BY: KEITH D. HEINOLD                                                    F ile                 the
Attorney ID. No. 30244                                   Attorney for D 44                   ords
                                                                                             m
2000 Market Street                                       Amazon.com, Inc.
Suite 2300
Philadelphia, PA 19]03
215-575-2640 (P)
215-575-0856 (F)
kdheino1d@mdwcg.com


JULIAN BRADLEY                                    COURT OF COMMON PLEAS
                                                  P HILADELP HIA COUNTY
       v.

EASYACCCOM, INC.                                  FEBRUARY TERM, 2017
     and
AMAZON.COM, INC.                                  NO. 7699


                               ENTRY OF APPEARANCE

TO THE PROTI-IONOTARY:

       Kindly enter my appearance on behalf of defendant, Amazon.com, Inc., in the above-

captioned matter.

                                          MARSHALL DENNEHEY WARNER
                                          COLEMAN & GOGGIN


                                           BY: ___/§ Z!§ <2ilh D. Heinold
                                                  KEITH D. HEINOLD
                                                  Attorney for Defendant
                                                  Amazon.com, Inc,

DATED: March 30, 2017




                                                                                  C a s e ID: 1 7 0 2 0 7 6 9 9
      Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 37 of 66




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                                                      l                                             /,§ .
JULIAN BRADLEY                                        I
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                                                      |
                                                      l        PHILADELPHIA 99111142                                     ords
                                                      I                                        2                         an
       v.                                             |
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                                                      I        F E BR UAR Y TE R M, 2 0 1 e
E AS YACCCO M, INC.                                   0
                                                      •                                                 _ §
       and                                            9
                                                      9        no. 07699
AMAZO NC O M, INC .                                   •
                                                      9

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                                                      I




                                                     ORDER

        AND NOW, this                      da y of                                 s
                                                                                       2017, upon cons ide ra tion of

the Preliminary Objections of Defendant, Amazoncom, Inc., and any responses thereto, it is

hereby ORDERED and DECREED that Amazoxmcom, Inc.'s Preliminary Objections are

S US TAINE D. It is furthe r O R DE R E D tha t:

       1. P la intiffs c la im for punitive da m a ge s , Count IH, is he re by DIS MIS S ED without

            prejudice; and                                r




       2. Any 8nd a ll othe r la ngua ge a nd/or a lle ga tions in the Compla int in s uppon of re cove ry

            o f p u n itive d a m a g e s a g a in s t Am a zo m c o m , In c ., in c lu d in g b u t n o t lim ite d to

            paragraphs 5, 12, 19, 24, 26, 27, and 29, are hereby S T RI CKE N.




                                                               BY THE COURT



                                                                                                                J.




                                                                                                            Ca s e ID: 1 7 0 2 0 7 6 9 9
                                                                                                      C o n tro l No .: 1 7 0 3 4 2 6 4
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MARSHALL DENNEHEY WARNER
COLEMAN & GOGGIN
BY: KEITH D. HEINOLD
Attorney ID. No. 30244                                        Attorney for Defendant
BY: KELLY J. CASTAFERO                                        Amazon.com, Inc.
Attorney ID. No. 320653
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Suite 2300
Philadelphia, PA 19103
215-575»2640, 215~5'75-4555
kdheino1d@mdvyc_g.eqm; kjc8stafero@mdwcg.c9m.

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JULIAN BRADLEY                                 0
                                               |       COURT OF COMMON PLEAS
                                               s
                                               O       PHILADELPHIA COUNTY
       v.                                      I
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                                               •       FEBRUARY TERM, 2017
EASYACCCOM, INC.                               o
                                               l


    and                                        I
                                               a       NO. 07699
AMAZONCOM, INC.                                I
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                    PRELIMINARY OBJECTIONS OF DEFENDANT,
                   AMAZQN.QOM, INC., To PLAINTIFF'S (QMPLAINT

       Defendant, Amazon.co1n, Inc. (hereinafier "Amazon"), by and through its attomeys,

Marshall, Dcnnehey, Wa1'ner, Colemzm & Goggin, hereby p1*eliminarily ohjects to Plaintiffs

Complaint, and in suppolt thereof, avers the following:

       1.       Plaintiff] Julian Bradley, initiated the present lawsuit by filing a Complaint in the

Court of Common Pleas of Philadelphia County on 01' about March I, 2017. A true and correct

                                                                              II
copy of Plaintiffs Complaint is attached hereto and marked as Exhibit "A.

       2.       P la intiff 8l1e ge s in his Compla int tha t on or a bout Ma rch 18, 2016, P la intiff

sustained serious bodily injuries when a wireless iPhone charger manufactured by Defendant

EasyAcc.com, Inc. and sold by Amazon.com, Inc. caught fire in his pant pocket. See Exhibit

"A," W 8-11 .



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                                                                                      Control No.: 17034264
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       3|      In Count III of P la intiffs Compla int, P la intiff a lle ge s a cla im for punitive

damages against both defendants. See Exhibit "A," W 53-62 (Count III).

       4.      P la intiff a ls o include s la ngua ge throughout the re ma inde r of his Compla int to

support a claim for Punitive Damages, including allegations that Amazon was "reckless," and

allegations that Amazon was aware of prior incidents of ignitions and explosion of EasyAcc

wireless iPhone chargers. See Exhibit "A," W 5, 12, 19, 24, 26, 27, and 29.

       5.      Howe ve r, P la intiff fa ils to ple a d s ufficie nt fa cts to s upport his cla im for punitive

damages against Amazon, and therefore Plaintiffs claim for punitive damages against Amazon

should be dismissed, and the language and/or allegations in the remainder of the Complaint 'm

support of a punitive damages claim should be stricken.

       6.      The P e nns ylva nia Rule s of Civil P roce dure provide tha t a pa nty ma y file

preliminary objections for "insufficient specificity in a pleading," Pa. R.C.P. I028(a)(3).

       7.      Pennsylv ania law is clear that "punitiv e damages are an 'extreme remedy'

available only in the most exceptional matters." P hiliips v. Cricke t Lighte rs, 883 A.2d 439, 445

(Pa. 2005).

       8.      Such extraordinary damages are only appropriate when a defendant's actions are

of such an outrageous nature as to demonstrate intentional, willful, wanton, or reckless conduct.

Se e SHV Coa l, Inc. v. Cont'l Gra in Co., 587 A.2d 702, 704 (Pa. 1991). See alsq McDaniel v.

Merck, Sharpe & Dohme, 533 A.2d 436, 447 (Pa. Super. 1987) (punitive damages may not be

awarded for misconduct which constitutes ordinary negligence such as inadveNence, mistakes, or

e rrors of judgme nt), Ma rtin v. Jolms-Ma nville ..Co1p., 494 A.2d 1088, 1098 (Pa , 1985) (e ve n

grossly negligent conduct is not sufficient to suppo11 an award ofpunitive damages).




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        9,        The clear focus in assessing punitive damages is on the actor's conduct and state

of m ind: "[t]he s ta te of m ind of the a c tor is vita l. The a c t, or the fa ilure to a c t, m us t b e

intentional, reckless or malicious." Martin v. Johns-Manvi11<-;, 494 A.2d 1088, 1097 n.12 (Pa.

l985), reversed 011 other grounds, 528 A.2d 947 (Pa. 1987) ( uotin Feld v. Merriam, 485 A.2d

74:2 (Pa. 1994)).

         10.      In this ca s e , P la intiff fa ils to a lle ge fa cts in his Com pla int tha t would s uppolt the

imposition of such an extreme category of damages against Amazon, specifically that Amazon

acted with the requisite culpable mental state to support a claim for punitive damages, or s pe cific

supporting factual allegations to substantiate his claim that Amazon was aware of prior instances

of the iP hone cha rge r ca tching on fire .

         11.      The re fore , P la intifTs cla im for punitive damages should be deemed impeliineut,

a nd this Court s hould s trike P la intiffs cla im s for p unitive da m a g e s a g a ins t Am a zon without

pre j udice l purs ua nt to P a . R.C.P . 1028(a )(2) (pe rm itting pre lim ina ry obje ctions for inclus ion of

s candalous or Lmpeltinent matter). S e e I-Iudock v. Done ga l Mut. Ins . Co., 264 A.2d 668, 671 n.2

(Pa. l970) (noting that allegations of damages or a prayer for damages that is not recoverable in

the cause of action pled is impertinent matter and should be challenged v ia a preliminary

objection in the nature of a motion to strike).

         WHEREFORE, De fe nda nt Am a zoncom , Inc. re s pe ctfully re que s ts tha t this Honora ble

Court dismiss Plaintiffs claim for punitive damages against it without prejudice, in accordance




I Should Plaintiff develop the requisite fact record giving rise to potential punitive relief against Amazon in the
future, Plaintiff may motion to amend his Complaint at that time.

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                                                                                                         Case ID: 170207699
                                                                                                      Control No.: 17034264
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with the proposed order attached hereto.



                                                 Respectfully submitted,

                                                 MARSHALL, DENNEHEY, WARNER,
                                                 COLEMAN & GOGGIN


                                           By:
                                                 KEITH D. HEINOLD
                                                 Attorney for Defendant,
                                                 Amazon.com, Inc.




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                                                                             Ca s e ID: 170207699
                                                                           Control No.: 17034264
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              MARS HALL DENNEHEY WARNER
              COLEMAN & GOGGIN
              BY: KEITH D. HEINOLD
              Attorney ID. No. 30244                                              Attorney for Defendant
              BY: KELLY J. CASTAFERO                                              Amazon.com, Inc.
              Attorney ID. No. 320653
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              Philaddphia, PA 19103
              2]5-575-2640; 215-575-4555
              kdheinold@mdwcg,com; kjcastafero@mdwcg.com

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              JULIAN BRADLEY                                     0

                                                                 •        COURT OF COMMON PLEAS
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                                                                 *        P HILADELP HIA COUNTY
                      v.                                         Q

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                                                                 1        FE BR UAR Y TE R M, 2 0 1 7
              E AS YAC C .C O M, INC .                           I
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                     a nd                                        U
                                                                          no. 07699
              AMAZO NC O M, INC .                                |
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                    MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJ ECTIONS OF
                       DEFENDANT, AlVIAZON.COTVI. INC., TO PLAINTIFF'S COMPLAINT

              1.      MATTER BEFORE THE COURT

                      Presently before the Court are the Preliminary Objections of Defendant Amazon.com,

              Inc. (he re ina fte r "Ama zon") to P 1a intif`f's Compla int. Ama zon re que s ts tha t P la intiffs cla im for

              punitiVe damages be dismissed for lack of .sufficient facts alleged to suppon such an

              ext1.ao1'dina1'y category of damages, and that any and all language and/or allegations in the

              Complaint in suppom of punitive damages be stricken.

ES TIONS INOLVED
              II.     § T.é

                       S hould P la intiffs cla im for punitive da ma ge s a ga ins t Ama zon.com, Inc. be dis mis s e d,

              and any and all language in support of punitive damages be stricken from the Complaint, where

              Plaintiff has not alleged any facts demonstrating egregious conduct on the part of Amazon?

                      Suggested Answer: Yes.

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                                                                                                                Ca s e ID: 170207699
                                                                                                             Control No.: 17034264
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     III.     F AC T S

              P la intiff, J ulia n Bra dle y, initia te d the pre s e nt la ws uit by tiling a Com pla int in the Court

     of Common Pleas of Philadelphia County on or about March I, 2017. A true and correct copy of

     P la in tiffs C o m p la in t is a tta c h e d h e re to a n d m a rke d a s E xh ib it "A."   P la in tiff a lle g e s in h is

     Compla int tha t on 01' a bout Ma rch 18, 2016, P la intiff s us ta ine d s e rious bodily injury whe n a

     wireless iPhone charger manufactured by Defendant EasyAcc.com, Inc. and sold by

     Ama zon.com, Inc. ca ught fire in his pa nt pocke t. See Exhibit "A," W8-11 .

              P la intiff a lle ge s cla izus of ne glige nce a nd s trict lia bility a ga ins t both de fe nda nts . See

     Exhibit "A." In Count III of P la iI1tiff's Com pla int, P la intiff a lle ge s a cla im for punitive da m a ge s

     against both defendants.            See Exhibit "A," 1[1| 53~62 (Count III).                   Plaintiff also includes

     conclusory language throughout the remainder of his Complaint that support a claim for punitive

     da m a ge s , including a lle ga tions tha t Am a zon wa s "re ckle s s ," a nd a lle ga tions tha t Am a zon wa s

_§   aware ofprior incidents of ignitions and expiosion. §

     29. Howe ve r, P la intiff fa ils to a lle ge e ve n one s pe cific ins ta nce in which the s ubje ct iP hone

     charger caught fire, and does not include any specific supporting factua! allegations in his

     Com pla int to s ubs ta ntia te P la intiffs thrca dba rc cla im tha t Am a zon wa s a wa re ofprior ins ta nce s .

     None of the fa ctua l a lle ga tions in P 1a intiff's Compla int ris e to the le ve l re quire d for punitive

     da ma ge s , a nd, a pa 1t Hom boile rpla te a lle ga tions tha t Ama zon's conduct wa s "re ckle s s ," the re a re

     no specific factual allegations of egregious conduct that would support a puniiive damages claim

     a ga ins t Am a z on. In fa c t, P la intiffs Com pla int is ge ne ra lly de void of a ny s pe c ific fa c ts othe r

     than the purchase of the iPhone charger at issue, the circumstances of the alleged accident, and

     the na ture of P la intiffs a lle ge d injurie s. See generally Exhibit "A."




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                                                                                                                   Ca s e ID: 170207699
                                                                                                               Control No.: 17034264
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        Absent the factual predicate, Plaintiffs claim for punitive damages against Amazon

s hould be s tricke n. The re fore , Am a zon now obje cts to P la intiff's Com pla int on the ba s is tha t the

a lle ga tions of the Com pla int do not s upport P la intiffs cla im for punitive re lie f a s a m a tte r of la w.

Iv.      ARGUMENT

         A.       Plaintiffs Claim for Punitive Damages Should be Dismissed Pursuant to
                  Pa. R.C.P. 1028(a)(2) Because the Allegations of Plaintiffs Complaint Do Not
                  Support an Award for Plinitive Damages

        Pennsylvania Rule of Civil Procedure 1028(a)(2) permits preliminary objections for the

inclusion of scandalous or impe1tinent matter. See Pa. R.C.P ,l028(a)(2). An allegation of

damages or prayer for damages that is not legally recoverable in the cause of action pled is

impertinent matter and considered "iu'e1evant to that cause of action." Hudock v. Donegal Mut.

Ins. Co., 264 A.2d 668, 671 n.2 (Pa. 1970). Thus, a preliminary objection in the nature of a

motion to strike impertinent matter is the proper means to challenge an erroneous category of

damages,           The Pennsylvania Rules of Civil Procedure also provide that a palty may file

preliminary obj ections for "insufficient specificity in a pleading." Pa. R.C.P. 1028(a)(3).

         Pennsylvania Iaw is clear that "punitive damages are an 'extreme remedy' available only

in the most exceptional matters." Phillips y,_Q;jig;_ket Lighters, 883 A.2d 439, 445 (Pa. 2005).

Punitive damages may not be awarded for misconduct which constitutes ordinary negligence

s uch a s ina dve rte nce , m is ta ke s , 01' e nors of judgm e nt. McDa nj9l_v. Me rck,_S ha 1'pe & Dohm e,

533 A.2d 436, 447 (Pa. Super. 1987), Takes v. Metropolitan Edison Co., 695 A.2d 397, 399 11.4

(Pa. 1997). Even grossly negligent conduct is not sufficient to support an award of punitive

damages. See Martin v. Johns-Manville Corp., 494 A.2d 1088, 1098 (Pa. 1985), Rather, such

extraordinary damages are only appropriate when a defendant's actions are of such an outrageous

nature as to demonstrate intentional, willful, wanton, or reckless conduct. See; SHY Coal, Inc. v..



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CoI1t'l Gra in Co., 587 A.2d 702, 704 (P a . 1991). The cle a r focus h1 a s s e s s ing punitive da m a ge s

is on the acto1° 's conduct and state of mind: "[t]he state of mind of the actor is vital. The act, or

the failure to act, must be intentional, reckless ol' malicious." Ma rtin v. J ohns -Ma nvillq, 4 9 4

A.2d 1088, 1097 n.l2 (Pa. 1985), reversecj _o_n Qther grounds, 528 A.2d 947 (Pa. 1987) (quotin

Feid v, Merriam, 485 A.2d 742 (Pa, l994)).

          In his Complaint, Plaintiff makes conclusory, non-specific allegations against Amazon in

an effort to suppolt his claim for punitive damages, including that Amazon acted in a reckless

m a nne r, a nd tha t Am a zon ha d knowle dge of pre vious ins ta nce s in which th8 Ea s yAcc wire le s s

charger spontaneously caught fire. However, Plaintiff fails to support these broad allegations

with specif ic f acts and examples regarding Amazon's alleged "outrageous" or "reckless"

be ha vior, a nd why the im pos ition of punitive da m a ge s is prope r. P la intiff ge ne ra lly a s s e xts tha t

Amazon had knowledge of prior incidents involving the subject iPhone charger, but sold the

iP h o 1 1 e to th e p u b lic n o n e th e le s s .   However, Plaintiff does not asserting any requisite

founda tiona l facts wh ic h wo u ld s e t fo rth a g o o d fa ith b a s is fo r th e s e a lle g a tio n s in th e firs t

instance. See generally Exhibit "A," Without more, Plaintiff has not pled, and likely cannot

plead at this point, the punitiv e damages claim against Amazon, which is at the v ery least

pre m a ture . The s e broa d fa ctua l a lle ga tions a lone s im ply do not e s ta blis h conduct de m ons tra ting

a culpable metal state necessary to prove evil motive or reckless indifference that could support

a n a wa rd ofpunitive da m a ge s a ga ins t Am a zon.

          Th e re fo re , a s P ia in tiffs c la im fo r p u n itiv e d a m a g e s a re u n s u p p o rte d b y a n y s p e c iiic

factual allegations, the claim should be deemed impertinent, and this Court should strike

Plaintiffs c la im fo r p u n itiv e d a m a g e s a g a in s t Am a z o n with o u t p re ju d ic e 2            pursuant to


                                 1




2 Should Plaintiff develop the requisite fact record giving rise to potential punitive relief against Amazon in the
futxire, Piaintiffmay motion to amend his Complaint at that time.

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P e nns ylva nia Rule of Civil P roce dure 1028(a )(2). Fu1"the 1', the a lle ga tions in s upport of punitive

damages are not sufficiently specific, and should be dismissed pursuant to Rule l028(a)(3).

v.      RELIEF

        For a ll the re a s ons s e t forth a bove , Am a zoncom , Inc. re que s ts tha t this Honora ble Court

sustain its Preliminary Objections, dismiss Plaintiffs claim for punitive damages, a nd s trike a ny

a nd a ll la ngua ge in s upport of punitive da m a ge s from P la intiffs Com pla int.




                                                            Respectfully submitted,

                                                            MARSHALL, DENNEHEY, WARNER,
                                                            COLEMAN & GOGGIN


                                                   By:          / -         1
                                                               ITH D.HEI OL .
                                                            Attorney for Defendant,
                                                            Amazon.com, Inc.




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                                   VERIFICATION
        Keith D. Heinold, Esquire states that he is the attorney for Amazon.com, Inc., that he is
acquainted with the facts set folth in the foregoing Preliminary Objections to Plaintiffs
Complaint, that the same are true and correct based upon information provided to him, and that
this statement is made subject to the penalties of 18 Pa.C.S. §4904, relating to unsworn

falsification to authorities.




DATED: 3 m//7




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                                     TO THE PROTHONOTARY:
                                     Kindly enter my appearance on behalf oi" Plain!iff7{*¢titionc1'/Appellnnt:JULIAN Bnanrmzy
                                    Papers may bc served nt tha address set forth below.

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                   FINE Annu STAUD,.LLO                                                                      ATTORNEYS FOR P i.A1nTrt8}8
                   BY:FBBDA R. MUSITIBFQ8SQUIRE
                   Attorney LD.: 20276.8
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                   AMAZONCOM, INC.                                                      ;
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                    residing jat the above stated address.

                    2. Defendant, B.Fisyf1c(}.colu, Inc ("EasyAcc"), upon in£`ormatio11 and beliaii is a. corporation existing

                    by vir'h1c of the laws of Clhiua/Hong Kong which11eguln1°1y conducts business in the Commonwealth of

                    Permsylvania, with substantial contacts in the Commonwealth of Permsylvauiu. Aftel' rqasonable

                    hmvcstigatiou, Plajntiff is unaware oz? li good address for service of tim Cqmplaint for Defendant,

                    EasyA¢o.




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                                       1¢\4   ¢ *n|¢ u             $4 (4    011   I   vs':*\.°°".°=1:».'»||to¢   1




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                          3.     E8SYACG       is vicariously liable. for The negligent and/nr reckless                  aots and/or omissions      of its

                          employees, servants, workmen, and/o.r agents who at- all material times were acting or fé dliug td act i n

                 1Qri1y, and/or
                          the cbuisfe
                                agency.
                                      :mdAfscope
                                            all material
                                                 QF fljeir.
                                                         times,
                                                            enipl0yment,.au{§                                                               Easyagc was

Acn
  inkIchoo
       5000Pnwa
            whichB¥
                  is an oxtcmal
                           the>.1nan1,=f`n¢
                                battery pack charger for

                          Iphona and othé t'sunart devié es (hereiuaftor "CI18Ige1"').

                          4.        Dcfandnnt, AmuzoL1.com, Mo ("Amazan"), upon infbmlaiicm and belief, is a coqioratiou and

                           onlihe commerce giadt wliioh regularly conduc\s'busi;1esé 1 iN the Commonwsalth ofPomisylvania, with

                           subslantiuf contacts in                                                                                  at the above Stated

                           zrddress,


                           5.       Amazon is vionriously liable for the.negligent acts and/or omissions of its~ employees, Servmts,

                           workmen, and/or agents who at all material times were acting or failingto aut in the course and soope
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                    y,.9ns1/on
                           . gi ae¢hQri£
                                   ir employ1lxenr, au¥

                           6.       At all materialtinnnn, Artlafnn :gold and distributed the Cliarger.

                                                                             II. J URIS DI§ ]`1`I.0NAN1?

                            7.      JUrisd ic! ioN                                                                       Pleas- ial P hila de lphia County,

                            Conunonweultlh of Pennsylvania in thai Dctbndants regularly conduct business in Phlladclphia and all

                            avents relevant to ihis matter uccurrecl in Philadclphia, County; Commonweaith of Perlnsyh/auia,

       /E FA0.T§                                                             IlI,QpERA'll§

                            8.       On or ab0ut July 4, 2015, Pluiuliiii Julian Bradley's iiancéo, Lauren Hc\u'iqL\6S, purchased for him

ono under onier #1]5-3206735~0713052-
                          the Charger tol`r`om
                                          cI1arg¢
                                               Amazun.

                               9»    At a1ln1aterial times, the Charger was wireless .


                            -`l0. O11 or about March 18, 2016, Plainiifli Julian Bmdley, was charging his Iphone and placed his

                               Iialione and the Charger in his ;-ight Ing It:an's pocket.




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    11. At a n times relevant, while plamtift, Julian Bradley, waé chgwging his [phone using the- Charger,
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    Lite Qharger, sucldenly amid without warning, igxiited, exploded and caught .fire causiNg severe and
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    penglaueni injt'.urics to PlaintL£                                                                                                                                                 i
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     12. The inoidfant and thc; injuries suffé red b y P laintift' were Gl1!Js8d solely by                 T116   negligence,                                                          :




     barelessncss, and xefclilessuess 0fbefepdanis, Amazoiland`.EasyAco, jniuflyaud/or seVerally.

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                                            ;rULIAN_1313ADLEX W BEW MMW
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     13. Plaintiff incorporates all of tha proceeding this
                                                       pzlragrapims
                                                           Complainto£
                                                                     as set fbrth -fully at length                                                                     I
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      l'4. Defendants did nmanufnctungsell and/or disfributts the charger in question.                                                                                                 !i
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      15 » Al- all material times, DgfclmdaUts owngd, manufactured, rlistribilted, controlled and/on otherwise
                                                                                                                                                                   .a
      caused
         .. the charger td bt) placed into the stream of co1nln61'c¢                                                                                                   g
                                                                                                                                                                       g
      .16.      Ai; all material fimcs, DcfeudanW were vesponsible for manufaciu1'ing and distxibutiilg the ciiargcr

      iix a condition suithble and saf9 far operation by memléers of thc.pu1>iie' inoludiqg Plaintiii
                                                                                                                                                                       E                   S
          17. Af nil matcrial t'Lmes`, the. charger. was unreasonably- dangmqous aud'uusa?e     : tise by the aVwage                                                                       I
          consumer na it Gould suddenly ignite, explndé , Und Qatoh fire.pusing serious harM to hxenabers of the
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          public: .
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          18. Defend ants knew 01. should have known that the charger was capable of igr|i8n8',,cxp1odi11g, and
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          catching fire while being used as 'mtcndcd.
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          19.   Up O 11   infonua tion and iwlief, I)cf.cudzu1ts were aware of prior lncidcilis iilVolviug fhe sudden                                                                      g
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          ignition and wiplosiim of the c11a1.ger.i;1 quqstioxm but continued to market and distribute the charger.                                                                        8
          20. Defendants knew or shonld have known that the Chargcr sold io PlaiIxtiiiiwzas not reasonably safe.
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          21. At all times wlevzmt, Defendants failed to warn the public including but not limited to 'tbe da\\ge1':~1                                                         i
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          involved in using ihis chmger.
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                                         22. At all material thnes, the dangers posed to Plaintiff from thc Glmrgcr were latfmt' and-mmknowu to
                                                                                                                                                                         s
                                                                                                                                                                         !
                                         him.

                                         23. At all maieriai times, é ho charger and its packaging gig; not warn that tho charger could slldflelify

o11.t`u~e_                               ighiie, e.xp.i0de and oLhei.Wis6 ¢

                                         ?A. The latent dzingqv was created by tho uggligence and mcklessness' c>fDe['endants.
                                                                                                                                                                             I
                                         25.. At' all material times,.'Defeuduuis failed to warn consumers including Plaintiii? of the dangers posed

                                         from thc charger iuc1udiJ1g. but not limited fo the ftict that il: could suddenly ignites, explode amd cnicll

                                         Me while Being used as; intended,                                                                                                           g
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                                         26- P1uintiff's
                                                 c]§ Ipjwies Wewcaused solely by t11e"negligence..an<L r¢                                                                    1


                                         27. AS sl direct and
                                                            ssn`6s9,
                                                              proximate
                                                                     Plaintiff
                                                                        resultwas
                                                                               of Dafendants'
                                                                                  caused      negligencie and rcQld¢                                                                     2
                                         lo suffer Seyewuud permanent injum.|68 aé desc.1'ibP,d below.

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                                         za. Defendant's xmagllgpnco consisted of bubis not limited to the following:

                                                              a,     Pailinglv warn P1aiutiff"tI1at tho charger was defective;

                                                              B. Failing to warn.tifaf ihe tzhafger could siié idonly ignite, explpdo and catch Hrs;

                                                              C.     Failing to wam Hmt the d1m1gcr'ibattery`co° L11d stlddenly ignita, explode.and

                                                                      ca tch fire ;

                                                              <L     Fuilingto walu of the latent and hidden danger created from using tho
                                                                                                                                                                                 I

                                                                     Charger as intended;

                                                               0.    Failing to properly redesign, remanxufacture, repair and/or maintain said charger

                                                                     `bbfor<z it was sold or dislriimled;                                                                                !
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                                                               f.    Permitting a dbfwtive and dangerous charger to be used by PIainliiT;
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                                                               g.    Failing to eli1uiuate,.uapair and maintain thc aforesaid defective chazgsr;
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                                                               lx.    Allowihg and permitting there to exist n dangerous and defective conditigm atixsr

                                                                      actual lmdlor nonstructive notice of said defect;

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                                                  i. Manufacturing, distributing amdselling a charger that
                                                                                                        1ould
                                                                                                           (heyhave
                                                                                                                knew or s¥

                                                           known ooqld ignit6,~ explode and catch tire;

                                               5. ltwFa¥
                                     1ing to tdco     clmrger-Qut of stwaii; Qf commetw at`te1~ actual' and/or

                                                                cnnstructive nbfdce of its defcotive conditiom.

                                                  k.            Fm'1i11g to warn EllePlaixlliff axxd others similarly situated of the aforesaid

                                                                de Festive and dmlgcrous condition of 21s charger;

                                                  l.            Allowing and |;¢r1ni1il.!1g. said ¢lim'g¢r to be and exist in a defective. oandiann;

                                                                Failihg to mh`mta'u1 the charger in a good state-ofrepaLir und' Cpnditicm before it

                                                                was put in the chain of qommerce,

                                                   11.          Failing to properly and adequately inspect the aforesaid- defective chargexj so as

1ni11e the coudi1ion'li1ereof;.                                  lo d¢

                                                   O.            Vlblaiing applicable laws, codes, mid prdinancqs with wspect to .the Cars,

                                                                 aixqihtcnaucw, c6u1g01 mid repair ojf-axe charger provided to plaintiff;

                                                   p.            Ncgligent hiring of conth\bto1's, eumployeW, wé rkanen, and servants;

                                                   <11           Ncglfgent training of con1racfm° s,.cmp1ayees,~worluuen, and servants;

                                                   T.            Negligeut supervizéibn of contratstms, employbesgwgrlcmcn, and sfsrvapts;

                                                                 Failing to properly fik lke dangeroUs condition;

                                                    n            Failing to remove the dajngcrous cfmdition8

                                                    u.           Failing to wam of the dangerouscondition;

                                                       \l_        Failing to provida a safe electrical system and/or hal"ce1*y in the charger;

                           ria1s and component pa;
                                               w. w11611
                                                   Failirmgnlauufacturing
                                                             to pxovide proper
                                                                          the mat¢

                                                                   cha rge r;

                                                       x.          Failing to design the aforesaid churgcr 'm a safe covndltiou;

                                                           y.        Cwuting, nluuufacturing and distributing the cshzwger that could suddenly ignite,

                 I
                                                                      explode, and catchfire while being used as intended;

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                                             z.    Iiuadequato design. of the chargou and

                                           u8.    Failing to exercise caution and ca1'c~-f61- the rights' and safety bf Pl`ah1;ifEand

                                                  OtlOl'S;

                           29. As a diwct mid proximate result of the carelessness, ncgjigpucv and nscklessness of Defendanfs,

                           jointly, severally; and/dr vicariously, Plaintiff] Jmilizm Bradley, sustained sexious and permanent bodily
                                                                                                                    scars, scarring wounds,
                           'mjnries including without limitation, i4iuri'es to His musuies, thigh; leg, hand,

                           second degree deep burn on upper right tl1.igh,, bums and scars on right thigh/leg, left- hmld burn,.

                           swelling, redness, hlisiers, 111usslé =pt3Li11, and aggravaiion oi'1Jre=<;xisling couciiiions If any, other ills and

                           injuries some m' all of which injuries may be pcr`n;an<;ut; Plaintiff .w~ ~s- prevented fiom attending to his

                           usual duties
                                 ies, and activi¥          has and continues to suffcr pain and suffering Qf mind and body, mental

                           angulslr ngmd distress; in addition, ho has suffered and/ov Will é auffqr lost wagQs, a, loiis bf carninga andlor

                           earning capacity @1114 other gconomie. losscs including but not Hnnitcd to. outsta11d'u1g nlcdicnl bills and

atmcnt and care all to his financial
                           tlieneed for
                                     detriment.
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                    reby requests
                              WHf11is.HonorabIe.
                                  E R E F O R E , pluintiff
                                                    Court Iuliati
                                                            to enter
                                                                  -Bi°
                                                                     judgment
                                                                       ad1by,]1¢

                            in his favor and against Defcndanfs;Easyaco.com, 1110 find Amazqn.c.6m,I11¢; j<>intly qnd./ot.sevemlly

0.00 plus intorWt, delay    in .a slim gr6n'r¢                                          damages, andoostspf suit.

                                                                             COUNT II
                                                                         STRICTLIABMTY |
                                                                 gULIAN' 3_RDL1;1 v. Dn:1v1=;nDAn1's_

                            30. Plaintiff i1\corporat'es tsill
                                                           fodh    fullyproceeding
                                                               of the     at length paragraphs of this Complaint as s¢

                            herein |

                             31. The ohargtzr was designed, 1nam1fachu.ed, developed, distrlbutecl, asSembled, prodHced, inspected,
                                                                                                                     wcomuxeuded, cerlilied,
                             licensed, promoted, packaged, processed, cmimpoundeii, labeled, speaiiiecl or

                             nxarketad, solfi, or otherwise supplier! and placcd in the straain of coMmerce as hcwtofoxfe set forth by
                                                                                                             in a defective
                             Defcmdants in u manner which was not in a good and proper worlmumlike faslu`ou,



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                condition unreasonably dangerouS tO the u1tim..ate t:'sei° s, conlmmers,and bys€a'mdeEs, ilxclurling pI8iutiff

                J ulia n Bra dley.

                32. The' charger was expected- to ,und did reach tha ultimnta users, Col).sllI1\G1's, and bystanders,

                including Plainum Julian Bradley, without substantial change or a|terat~io11 and in- the. same or

                substalxtially the same cdndjtion as wltau it was'n'1a11ufh<:tt1r€¢43, s oid, lalxalcd, or distributed, while in or

                ns it Init the possesSion amid cnntwl OfD'efcndzu1ts .

        'orcmemioi1ed
             33. The a£
                      cliarger was defective and unsafe when it left tho                              control of Defemlants, in

                that it wus not safe for the reasonably foreseeuhla- use which subjected Plaintiff, Julian Bradley, m

                seriuus injuries when the nfoxemontioned
                                              9ab|e1nanner.
                                                         charger wnsused .in a reasonable and forbs¢

                34. The chatgcr was dcfoctively design:-nd jaudlbr mam1fn;>lu.red in that.it Was capable of catching fire

                 and se.rlou.s1y i11ju1'i~ng Coi1sui)'l€l`s.

                 35. The cbafgcrpdscd an unreasonabledaugerto intendedusers such as PIaini.iE duetg its defect.

                 36. Th e chaxgev was defebtive and unsalia because- it could suddenly- ignite, explode.and. catch fire

                 causing severe and pennauenf injuries to PIaint`if£

                 37. Upon iui`ormatio1; and belieh die chargrn' was glefeoilve and unwaasonalé ly dangcronis as lt did not

                 contain all appropriate safety Mechanisms nhd safeguards to prevent the albresaid .harm from

                 occmwiilg.

                                                                                                                            De1'e11dm1i3
                 3B-. The charger was defeeiively and neg1ig'ent}y mzmufactured and/br distributed b y

                 causing the product to be unreasonably dangerous and caué iug the aforemé mtibned harm to occur.

                 39. The design ofihb charger poses-umeasqnable danger to the publiq.

                  40, Upon information and belief; the charger contained defective components'mldwaruings causing

                  The product to be unreasonably daugerousand causing the afo1'eme11tioned haunt to occur.

                  41. The cbargc1' fhatinjuwd Plaintiff was In the same or substantially the same condition at the time it

                  injured Plaintiff as Coinpnrcd to tlto time it lofi tlhe conlml of the Defendants.

                  42. The chsu'ger was being used [br its intended puqaose at the time it injured Plnjntiff.

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                        43 \ Upon h1['0m1iit1o11 ,amd faelieii at all u1at€1'in1 times heneto, cha warnings if any accomparmyixmg the                                        E
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                        mtliarger were defective and did not properly inform and warn the public as to the hidden danger created                                             8:
                        by the chargcl' which included dmt the nhargeu could suddenly ignite, explode and catoh tl1'8z

                        44. Upon infomuation and belief, than warnings if any, conttkimé d on oV wi t h tho ollarger, issuemi by
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                        Defeudnnlvs did not adequatdy and fully inform tho-pufillc ou the safe usb of the product including but                                                                      4


                        not limited to propqrly use il for its intended pulpose.

                        45. Defendants failed to wa'rn concvrnixig thc. hazard pusé d f1° om the ordinary us9 ge of the charger,
                                                                                                                                                                                         !%
                                                                                                                                                                                                     l
    product and46.
                warnings,
                   Due to the
                          a defective con<lifion(s) of ti\¢                                              significant danger was pclmifted
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                        to exist which Gaused the harm sutfoyed by Plaintiff.
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                        47. At 411 material' t1\nes,`tI1is danger. was latentmmd mikuown to Plaintiff but appteciawd mxdkuown
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                         by Defcndauis,                                                                                            r
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                         48. AS u direbt_ :inclproximate result. of.the aforementioned uusafQ and defective: co11dition(s) 0f.tl1e.                                                          1




                         charger, Pfaiulilf sustained sevew andpetnlunentinjuries as pwviously mentioned above.
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                         49. De&=ndants are strietiy. liable to tlie Plaintiff pursuant- td.4-{§2A. of the Restaibxnent (Se6oN<1) of
                                                                                                                                                                                 l
                         Torts

                         50. Tha ufé zwmentipited é harger was not equipped with eveiry element xmecessanrio make ii: safe for                                                                       I
                         reasonablyforeseeable.use.                                     o
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                                           u1tstriritly
                         51. Defeuniauts are    of his liable
                                                        use of'tlw
                                                              tb: the
                                                                   dnfeativé
                                                                      iqiun'es Plaintiff suffered' as a ro§
                                                                                                                                                                                                         I
                                                                                                                                                                                                         !
                         charger,which at all pertinent times was under the exclusive' control of ti16.D48fend%lnts..

                         52.. As a direct and proximate result of the aforementioned lmsafu and dctiactive c.cmdi1ion of the

                         Chsirgelz
                          Julian. Braclloy,
                                   Pi@imiI£sustained the `mjuries and damages set as aforementioned.

                                   WI-IIBREFORE, Plaintilf, Julian Bradley, hereby requests. this Honorable Court- ua enter

                          judgment in his favor and against Defendants, Easyacxxcom, Tnc and Amazoxncom, Inc, jointly 3:16/or

                          severally, in 11. sum greater than $50,000.00 plus interest, delay damages, and costs ofsuii.



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                             orptirateci
                                 The- averments
                                         by mfenence
                                                 o§ as tlmugh fully act forth                                                                                                               iI
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                                  he re in.

                                  54. ,At all material limes, tlw production and disldbution ofthe charger was substantially below industry
                                                                                                                                                                              4
                                                                                                                                                                                            3
                                  standards and done with reckless disregard tbr the safety ofthe public includ'Lug Julian B1'adle`y.
                                                                                                                                                                              E
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                                                                                                 Plaiiytiffchai'gs>£
                                                                                                            wa's xisiug was                                                                     I

                                  55 I Defendagts- knew andlor xecklessly disvegarded the fgxet that the.                                                                                       !

                                  highly dangerous and could xiasult in serI0i\8-'ibjurys-
                                                                                                                                                                              I
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                                  56. Upon information and bolie11 Deiiandants were well awavé prior to Plai1iti83's. iuj.ury that the charger
                                                                                                                                                                                                L
                                                                                                                                                                                                E
                                                                                                                                                                                                II
                                   could snlddauly ignite, explode Qnd catch iirc.                                                                                                              !
                                                                                                                                                                                          sl
                                                                                                                                                                                          I I|
                                   57. Upon infonuution and belicii otheu incidents where the charger suddenly ig1\i1c<l, exploded' .and

                                   caught-iiru have occurred beforo and aiter Plaintiffs incident mich bavg caused `mjum'y hr substantially

       but Dcfcnclants xcckkessly,
                         Lmdgngeredwnnmnly,
                                     menibers- o f th e pl\bli¢                                                           and   witii gxWt

                                   iudi£f`¢fc1ice to. thq we1l~being:of public oontinusad to mzuket and soil the chHrge1' without change and
                                                                                                                                                 dcliberait:
                                                                                                                                                                                            1
                              0
                                    without adequate wfwniugto tI\e.public.                                                                                                       I
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                                    58. DcI?end'm1ts deliberately and/or recklessly11184710 No effort to wmzu the pub1i0 including Plailltilii' to the
                                                                                                                                                                                  ;
                                                                                                                                                                                                    g
                                                                                                                                                                                                    I!
                                    lurowu risks of tho charger. creating an unreaso'i1a`bl§: risk of physical harm tv P1pf|1iiff` :incl Qthgexssimilarly                                        =
                                    8iit1ated,
                                                                                                                                                                                                1I
                    gard coné 59.
                               tisted
                                   Deiicntiauts'
                                      of but is n,ot
                                                 recklessnsss
                                                     limited to tha
                                                                 auilfollowing:
                                                                      reckless 8isi¢                                                                                                             5
                                                                                                                                                                                                 i
                                                        a.   Failing to warn Plaintiff that the cha1'ge1'was dsfectivea,

                                                        b.   Selling and distrihuting a product kuown to Defsndants to suddenly ignite,                                                             l
                                                                          d catch iiY° =
                                                             .erqJf0d@ 0.1!                                                                                                                         !
                                                        c.   Coucenling that the clulrger could suddenly ignite, explode and catch tire;                                          I
                                                        d.   Failing to warm of the iatemft and hidden danger arealed 80m permitting the

                                                             use of the charger,

                                                                                                                                            C036 I D: 170207699




                                                                                                                                                  Ca s e ID: 170207699
                                                                                                                                            Control No,: 17034264
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                                                 Fi11l'mg.to properly repair and maintain said charger before it was

                                                 sold/distributed;

                                       f.        Peunittiug a defecilve and dangerous chz4rgQ1' to beusecl by Plaintiff;

                                       .g. Failing to' el1inm`1ate, repair and maintain1116 afb1`Q-iald defective charger;

                                       h . Marketlimg and selling a product knoWn to Dé fendauts to cause serious harm or

                                                 iiulllfy,

                                       1.        Allowing and permitfing there to endst a, dangerousand dé fective qonditlon aftqr

                                                 actual and/or constnlctive nolica of said defect,

                                       3. Fm'libg to také tho"c1\arge1' out of stream ofcomnrierce aiier actual and/or

> notice of its defective condition;             Do11st111otiv¢

                                       k.        Failing fo warn the Plaintiff and others similarly silllatetl of thG afowsaid

                                                 dei%ctive and dangerous condition ofthe charger;

                                        1.        Allowing and pQ1'Lnitt.ingsaid charger to be and exist in a defecfivc condition;

                                        m . Failing Lo mainiaiii the charger in. a gdoé l state ofrepair andbé Ndition l5eli'o1:e it

                                                  was put in the chUlit 6f:`c=3nunerce;.

                                        n . Failing to properly- and adequately inspect the aforcsaid defective- chmtger so as-

                                                     to determine the condition lhereoi§

                                                     Violtafiixg applicable faws..c641es,.aitd prdinaneés with rsspect1o'tl1e. cane,

                                                     maintbnancb, control and rcpaii:of the chargev]i1'ovided.tQ Plaintiff,

                                        pa Reckless hiring of co11iTa1ctors, employees, wnrkmsri, and servants;

                                         q,          Reckless traihlng of contractors, employees, workmen, fuxd servants;

                                         ll'         Rftcklass supervision of contrncfors, employees, wo1'lu11en, and setvawfs;

                                            s.       Failing to properly treat {11'e dangerous c0x1ditio11;

                                            t.       Failing to remove.tI1e cl~ ngerous couditiqn;

                                            u. Failing to Wm11 ofthe dangerous condition; and

                                                                                                                                     Case iD: !70207699



                                                                                                                                          Ca s e ID: 170207699
                                                                                                                                     Control No.: 17034264
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                                     ,9h%9 and
                                            V. safzty
                                                FailingoftoPlaintiffaud
                                                            exexcisfa caution and care fdr tho r§

                                                  oihcrs .
                                                             4




                                             w\    [failing to provitie sm safe electrical system i11 the cl1arg.e1';

                                             X.   Failing to providc proper lnuteriuls and compoixent partxé when mauiifacluriiag the

                                                  charger;

algu and Iemanufaclure the ch=1L'ge1' y,
                                      afterFailing
                                            kllowingpftho
                                                   to red¢ serious

                                                  danger pose(Lto-consu1ue1-3,

                                            .Z|   Failing to design the aforesaid charger iN a satb condiiirm; and

                                             aa. Failfug tC exewise caution8utl
                                                                    61-         care £           the rights and safely df piaintiff and

                                                  others.

           ss1i¢          60. Defendants' actié nfg dQmonsh'atG recI<l¢                     rccldess disregard To PI8inti88's health and well

                          inning.

                          61. As 'a dh'cctwcsu`lt.0t` Detbndauts' rWdcssuess- und deliberate izldifference, Plhimit}` sxmifercd iqiu1ies

                      I
                          as pled.abqve.

                          62. Pxmidvé damages tm? appropriuie against D(:f<8n<la;\t`s' to defer fixfrhet harmful inaction and/or

                          conduct.

                                     WHEREIWRE, Plaintiff, Julian Bradl`ey,- demands judgmcnt in his farvnr                                                    @J1d           .qgalngt

                          Dofenda\1ts, Easyaccpom, Inu and Amuzomcom, Inc, jointly and/or swerally, in a.u ainbuni 'm excess' of

                          l*ii'cy Thousand D61|81'S; (ss0,000.00) including compensatory damages, punitive damagcs, costs of

                          litigation, inte\nsst, alid delay damages, and nil other reliefdeemed just gud appré priate,


                                                                                       Respectfully Submitted,

                                                                                       F             ST UD, , L ,('
                                                                                       ,f /~ ' )                    )'
                                                                                    ,.f*"             /       H*
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                                           Bsquinu                                       av aR.Mus1ti9[§
                                                                                       Fe 1118Y8
                                                                                              .   for Plaintiff
                                                                                       At

                                                                                                                                                         Case LD: I 70207699




                                                                                                                                                                    Ca s e ID: 170207699
                                                                                                                                                         Control No.: 17034264
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             \1"1""» -uv       *4 I                                                                   'll         1   » '1' "W
                                                                                                                         '6




                                      I, Julian Bradley, hereby state thatI nm the Plaintiff' in this nmitel' and thatthe

                               nverlnents contained ilx the foregoingpleadiuydiscuVcxfy are true and xzorvcct to the beat of any

                               l<uowIe(lgc, information and belief, and hnrtluer-that this stntcmentis made subject to thc

04 wlating                     penalties of 18 Pa. C.S. §              to udSworu falsiticnfion.


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                                                                                                                                      *       4.
                                                                                                                                                                        I



                                                                                          Julian Bradley




                                                                                              I




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                                                                                                                                                               Control No.: 17034264
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                                   CERTIFICATE OF SERVICE

          I hereby certify that I have served upon all persons listed below a true and correct copy of

the foregoing Preliminary Objections to Plaintiffs Complaint, in the above-captioned matter, this

date by electronic filing'




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                                                       Attorney for Defendant, Amazoncom, Inc.


Date :     7:3/2,"/IT]




                                                                                         C a s e ID: 1 7 0 2 0 7 6 9 9
                                                                                      C ont r ol No. : 1 7 0 3 4 2 6 4
       Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 65 of 66




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JULIAN BRADLEY                                       CIVIL ACTION

       v.
                                                     no.
E AS YAC C C O M, INC .
       a nd
AMAZO N.C O M, INC .



            RULE 7.1 DISCLOSURE OF DEFENDANT_ AMAzon.com, INC.

       P le a s e che ck one box:

                The nongovernmental corporate party, Amazon.com, Inc.                  ,
                in the above listed civil action does not have any parent corporation and
                publicly held corporation that owns 10% or more of its stock.

ij              The nongovernmental corporate party, _          __ _                    ,
                in the above listed civil action has the following parent corporation(s) and
                publicly held corporation(s) that owns 10% or more of its stock:




                                                        MARSHALL DENNEHEY WARNER
                                                        COLEM  & GQGGIN /

                                                  BY:
                                                        KITH D. HE INO LD
                                                        Attorne y for De fe nda nt,
                                                        Ama z0n.c0rn, Inc.
                                                        215-575-2640 (P ); 215-575-0856(F)
                                                        kdheino1d@,mdwcg.com




 Dated :        9 Q, W
       Case 2:17-cv-01587-MSG Document 1 Filed 04/07/17 Page 66 of 66




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JULIAN BRADLEY                                             CIVIL ACTION

      v.
                                                           no.
E AS YACC.CO M, INC.
       a nd
AMAZO NC O M, INC .



            RULE 7.1 DISCLOSURE OF DEFENDANT, AMAZON.C()M, INC.

       P le a s e che ck one box:

K4             The nongove rnme nta l corpora te pa rty,         Ama zoncom, Inc.                ~,
               in the a bove lis te d civil a ction doe s not ha ve a ny pa re nt corpora tion a nd
               publicly he ld corpora tion tha t owns 10% 01' more of its s tock.

                The nongovernmental corporate pa1'ty,_                      _                     ,
                in the a bove lis te d civil a ction ha s the following pa re nt corpo1° a tion(s ) a nd
                publicly he ld corpora tion(s ) tha t owns l0% or more of its s tock:




                                                             MARSHALL DENNEHEY WARNER
                                                             COLEM N & GOGGIN

                                                       BY:
                                                             KEiTH D. HEINOLD
                                                             Attorne y for De fe nda nt,
                                                             Am a z o n c o rn , In c .
                                                             215-575-2640 (P ); 215-575-0856(F )
                                                             kd h e in o ld @ m d wc g . c o m




 Dated :       L/5/6 (fl
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